| CM/ECE - U.S. District oud Nan espn Aistristed Alabama iment 2-7 FERS RS SAU SOOB ES FOYE el OPED KER pt pl?8405027702095..

US. District Court
Northern District of Alabama (Southern)
CIVIL DOCKET FOR CASE #: 2:12-cy-01910-RDP

One Stop Environmental, LLC et al v. Blue Cross and Blue Date Filed: 05/17/2012

Shield of Alabama et al Jury Demand: Plaintiff
Assigned to: Judge R David Proctor Nature of Suit: 410 Anti-Trust
Lead case: 2:12-cv-01133-RDP Jurisdiction: Federal Question

Member case: (View Member Case}
Cause: 15:1 Antitrust Litigation

Plaintiff

One Stop Environmental, LLC represented by Arthur N Bailey , Jr
HAUSFELD LLP
44 Montgomery Steet
Suite 3400

San Francisco, CA 94104
415-633-1908

Fax: 415-358-4980

Email: abailey@hausfeldlip.com
ATTORNEY TO BE NOTICED

Christopher T Hellums
PITTMAN DUTTON & HELLUMS
PC

1100 Park Place Tower

2001 Park Place North
Birmingham, AL 35203
205-322-8880

Fax: 205-278-2711

Email:
PDH-efiling @ pittmandutton.com
ATTORNEY TO BE NOTICED

Edgar Dean Gankendorff
PROVOATY & GANKENDORFF
LLC

650 Poydras Street, Suite 2700

New Orleans, LA 70130

504-410-2795

Fax: 504-410-2796

Email: egankendorff@ provostylaw.com
ATTORNEY TO BE NOTICED

lof 19 O/7F/12 8:36 AM
4 CM/ECF - US. District Coussonheyp Ristries ahAlabayae ment 2-7 Fireney/ Sof) pg q1sco unis, aay piBADKIR pt._pl?8405027702095...

Eric R Belin

PROVOSTY & GANKENDORFF LLC
650 Poydras Street, Suite 2700

New Orleans, LA 70130

504-410-2795

Fax: 504-410-2796

Email: ebelin@provostylaw.com
ATTORNEY TO BE NOTICED

Jonathan S Mann

PITTMAN DUTTON & HELLUMS
1100 Park Place Tower

2001 Park Place North

Birmingham, AL 35203
205-322-8880

Fax: 205-328-2711

Email:

PDH-efiling @ pittmandutton.com
ATTORNEY TO BE NOTICED

Michael D Hausfeld

HAUSFELD LLP

1700 K Street NW

Suite 650

Washington, DC 20006
202-540-7200

Fax: 202-540-7201

Email: mhausfeld@hausfeldllp.com
ATTORNEY TO BE NOTICED

William A Isaacson

BOITES SCHILLER & FLEXNER LLP
5301 Wisconsin Avenue N.W.

Suite 800

Washington, DC 20015

202-237-2727

Fax: 202-237-6131

Email: wisaacson@bsfllp.com

ATTORNEY TO BE NOTICED
Plaintiff
Nicholas A Layman represented by Arthur N Bailey , Jr
(See above for address)
ATTORNEY TO BE NOTICED

2 of 19 9/7/12 8:36 AM
4 CMIECE - US. District Coublopiheye Rigtig abs labapeument 2-7  Fillpersolelndaiscoutts, aay’ /geisbipAPktRpt.pl?8405027702095...

V.
Defendant

Blue Cross and Blue Shield of
Alabama

3o0f 19

represented by

Christopher T Heilums
(See above for address)
ATTORNEY TO BE NOTICED

Edgar Dean Gankendorff
(See above for address)
ATTORNEY TO BE NOTICED

Eric R Belin
(See above for address)
ATTORNEY TO BE NOTICED

Jonathan S Mann
(See above for address)
ATTORNEY TO BE NOTICED

Michael D Hausfeld
(See above for address)
ATTORNEY TO BE NOTICED

William A Isaacson
(See above for address)
ATTORNEY TO BE NOTICED

Carl S Burkhalter

MAYNARD COOPER & GALE PC
AmSouth Harbert Plaza, Suite 2400
1901 6th Avenue North
Birmingham, AL 35203-2618
254-1000

Email:

cburkhalter@ maynardcooper.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

James L Priester

MAY NARD COOPER & GALE PC
2400 Regions/Harbert Plaza

1901 Sixth Avenue N

Birmingham, AL 35203

OFT 2 3:36 AM
+ CM/ECF - U.S. District coud Nay hern istrishoieslapanayment 2-7 Fires: Gerfatnd. gscoptrts po veg) fb ZDKIR pt pl?8405027702095 ...

205-254-1000

Fax: 205-254-1999

Email: jpriester@maynardcooper.com
ATTORNEY TO BE NOTICED

Pamela B Slate

HILL HILL CARTER FRANCO COLE
& BLACK PC

425 S Perry Street

Montgomery, AL 36104

334-834-7600

Fax: 334-386-4381

Email: pslate@hillhillcarter.com

ATTORNEY TO BE NOTICED
Defendant
Blue Cross and Blue Shield represented by Kimberly R West
Association WALLACE JORDAN RATLIFF &
BRANDT LLC

First Commercial Bank Building

800 Shades Creek Parkway, Suite 400
PO Box 530910

Birmingham, AL 35253
205-870-0555

Fax: 205-871-7534

Email: kwest@wallacejordan.com
ATTORNEY TO BE NOTICED

Mark M Hogewood

WALLACE JORDAN RATLIFF &
BRANDT, LLC

PO Box 530910

Birmingham, AL 35253
205-870-0555

Fax: 205-874-3245

Email:

mhogewood @wallacejordan.com
ATTORNEY TO BE NOTICED

Date Filed # | Docket Text
05/17/2012

COMPLAINT against Blue Cross and Blue Shield Association, Blue Cross and
Blue Shield of Alabama, filed by One Stop Environmental, LLC, Nicholas A

4of 19 O/7/12 8:36 AM
4 CM/ECE - US. District CourNontheyn hisrics ahAlabaas ment 2-7 Fritrey/Soie) pd pscousts, Bey ise pipApkIR pt. pl?840502 7702095.

05/17/2012 Request for service by certified mail filed by Nicholas A Layman, One Stop
Environmental, LLC. (contained in the body of the complaint) (KGE, )
(Entered: 05/23/2012)

05/18/2012 Filing Fee: Filing fee $ 350, receipt_number 1126-1665916, USDC receipt
#B4601033750 (Entered: 05/ 18/2012)

05/23/2012

2 | Summons Issued as to Blue Cross and Blue Shield of Alabama, mailed certified

mail (KGE, } (Entered: 05/23/2012)

05/25/2012 3 | SUMMONS Returned Executed Blue Cross ‘and Blue Shield of Alabama served
on 5/24/2012, answer due 6/14/2012. (KGE, } (Entered: 05/25/2012)

06/08/2012 4 | NOTICE of Appearance by Carl S Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama (Burkhalter, Carl) (Entered: 06/08/2012)

06/08/2012 5 | MOTION to Consolidate Cases Unopposed CV- 12-1133 and CV. 12- 1910 by
Blue Cross and Blue Shield of Alabama. (Burkhalter, Carl} (Entered:
06/08/20 12)

06/08/2012 Case Reassigned to Judge R David Proctor. Magistrate-Judge John E Ott no

longer assigned to the case. (AVC) (Entered: 06/08/2012)

06/08/2012 6 | ORDER- This case is before the court on Dft Blue Cross and Blue Shield of.
Alabama's Unopposed Motion to Consolidate (23 in 2:12-cv-01133-RDP; 5 in
2:12-cv-01910-RDP). The motion is GRANTED. In the future, all other
documents should be electronically filed only tn the lead case 2:12-CV-
01133-RDP, but should bear the style used on this order. Signed by Judge R
David Proctor on 6/8/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP(AVC) (Entered: 06/08/2012)

NOTICE of Appearance by John D Saxon on behalf of Fred R Richards,

06/08/2012 7
Richards and Sons Construction Company Inc Associated Cases: 2:12-cv-
01 £33- RDP, 2: 12- cv-01910-RDP(Saxon, John) (Entered: 06/08/2012)
06/08/2012 8 | NOTICE of Appearance by Adam W Pittman on behalf of Fred R Richards,

Richards and Sons Construction Company Inc Assoctated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP(Pittman, Adam) (Entered: 06/08/2012)

06/13/2012 9 | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Blue Shield of Alabama Assoctated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Priester, James) (Entered:
06/13/2012)

| 06/20/201 2 [QO | Corporate Disclosure Statement by Nicholas A Layman, One Stop
Environmental, LLC. filed by Nicholas A Layman, One Stop Environmental,
LLC (Hellums, Christopher) (Entered: 06/20/2012)

06/20/2012 ii | MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One Stop
Environmental, LLC. (Attachments: # | Exhibit})Associated Cases: 2:12-cv-

Sof 19 9/7/12 8:36 AM
“4
4

CM/ECF - USS. District CGourkNogtheype Nise HAlabaae ment 2-7 Fileper (Sof el pe aiscounis ger gah pipgDktR pt. pl?8405027702095...

Gof 19

01133- RDP, 2: 12-cv-01910- RDP(Hellums, Christopher) (Entered: 06/20/2012)

06/20/2012

06/ 20/ 20 1 2

06/20/20) 1 2

N |

Christopher) Modified on 6/20/2012 (AVC). (Entered: 06/20/2012)

PHV Fee paid: $50, Receipt# 1126-1689820 (ALND# B4601034577).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,

MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One Stop -
Environmental, LLC. (Attachments: # | Exhibit)Associated Cases: 2:12-cv-
01133- RDP, 2:12-cv-01910-RDP(Hellums, Christopher) (Entered: 06/20/2012)

PHV Fee paid: $ 50, Receipt# 1126-1689828 (ALND# B4601034578).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,
Christopher) Modified on 6/20/2012 (AVC). (Entered: 06/20/2012)

06/20/2012

MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One Stop
Environmental, LLC. (Attachments: # 1 Exhibit)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910- RDP(Hellums, Christopher) (Entered: 06/20/2012)

06/20/2012

06/20/ 20 1 2

PHV Fee paid: $50, Receipt# 1126-1689837 (ALND# B4601024579).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,
Christopher) Modified on 6/20/2012 (AVC), (Entered: 06/20/2012)

MOTION for Leave to Appear Pro Hac Vice by Nicholas A Layman, One Stop
Environmental, LLC. (Attachments: # | Exhibit}Associated Cases: 2:12-cv-
01133- RDP, 2: 12-cv- O1910- -RDP(Hellums, Christopher) (Entered: 06/20/2012)

06/20/2012

PHV Fee paid: $ 50, Receipt# 1126-1689840 (ALND# B4601024580).

Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(Hellums,
Christopher) Modified on 6/20/2012 (AVC). (Entered: 06/20/2012)

06/21/2012

15

TEXT ORDER - The court has before it motions to appear pro hac vice in this
case filed on behalf of Attorneys William A. Isaacson, Michael D. Hausfeld,
Edgar D. Gankendorff, and Eric R.G. Belin (Docs. # 28-31). Each attorney has
satisfied the requirements for appearing pro hac vice in this action. Accordingly,
the motions (Docs. # 28-31) are GRANTED and the attorneys are ADMITTED
to appear in this case pro hac vice. Signed by Judge R David Proctor on
06/21/12. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP(SEFR, )
(Entered: 06/21/2012)

06/21/2012

Consent MOTION Coordinate Pleading Deadline and Briefing Schedule by
Blue Cross and Blue Shield of Alabama, Blue Cross and Blue Shield of
Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-
RDP(Burkhalter, Carl} (Entered: 06/21/2012)

06/21/2012

17

TEXT ORDER -This case is before the court on the parties' Consent Motion to
Coordinate Pleading Deadline and Briefing Schedule (Doc. # 33), filed June 21,
2012. For good cause shown, the Motion (Doc, # 33) is GRANTED.
Accordingly, the following deadlines are in place: (1) any motions filed by
Defendants responding to the Complaints, as well as supporting briefs, are due

OF7/12 8:36 AM
4 CM/ECF - US. District Cour donheyp Ristries Abb labaypaum ent 2-7 Fier (sehelnd gsco ysis, aay /peds pin kIR pt pl?8405027702095...

by July 16, 2012; (2) any responsive briefs filed by Plaintiffs are due by August
13,2012; and any replies filed by Defendants are due by August 27, 2012.
Signed by Judge R David Proctor on 6/21/2012. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP(AVC) (Entered: 06/21/2012)

06/21/2012 is | WAIVER OF SERVICE Returned Executed by One Stop Environmental, LLC,
Nicholas A Layman. Blue Cross and Blue Shield Association waiver sent on
6/20/2012, answer vr due 8/20/2012. (Heliums, Christopher) (Entered: 06/21/2012) |

06/25/2012 19 ORDER- This c case is before the court on pltf’s Chris Bajalieh and Consumer
Foundation Education of America, Inc.'s Unopposed Motion to Consolidate (6
in 2:12-cv-02185-RDP). The motion is GRANTED. The Clerk is hereby
DIRECTED to CONSOLIDATE case 2: 12-cv-2185-RDP with case
2:12-cv-1133. In the future, all other documents should be electronically filed
only in the lead case, but should bear the style used in this order. Signed by
Judge R David Proctor on 6/25/2012, Associated Cases: 2:12-cv-01133-RDP,
2:12-cv- O1910- RDP, 2:12-cv-02185-RDP(AVC) (Entered: (06/25/2012)

06/26/2012 20 MOTION to Consolidate Cases (Unopposed) by Blue Cross and Blue Shield
Association. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cy-02185-RDP( West, Kimberly) (Entered: 06/26/2012)

06/26/2012 21 | MOTION for Status Conference by Nicholas A Layman, One Stop
Environmental, LLC. Associated Cases: 2:12-cv-01133-RDP, 2: [2-cy-
01910-RDP, 2:12-cv-02185-RDP(Hellums, Christopher) Modified on 6/26/2012
(AVC). (Entered: 06/26/2012)

06/27/2012 22 | ORDER-This case is before the court on Dft Blue Cross and Blue Shield
Association's (BCBSA) Unopposed Motion to Consolidate (8 in 2:12-cv-
02185-RDP, 36 in 2:12-cv-01133-RDP, 20 in 2:12-cv-01910-RDP). The motion
is GRANTED. The Clerk is DIRECTED to CONSOLIDATE American Electric
Motor Services, Inc. v BCBSA, et al with Richards et al v. BCBSA. Signed by
Judge R David Proctor on 6/26/2012, Associated Cases: 2:12-cv-01133-RDP,

2: 12-cv-01910-RDP, 2: 12-cv-02 169-RDP, 2:12-cv-02185-RDP(AVC) (Entered:
06/27/2012)

06/27/2012 23

at

NOTICE of Appearance by Kimberly R West on behalf of Blue Cross and Blue
Shield Association Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP( West, Kimberly) (Entered:
06/27/2012)

NOTICE of Appearance by Mark M Hogewood on behalf of Biue Cross and
Blue Shield Association Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP(Hogewood, Mark)
(Entered: 06/27/2012)

06/27/2012 2

[is

ORDER-This matter is before the court on Pltfs' Motion for Status Conference,
(37 in 2:12-cv-01133-RDP, 21 in 2:12-cv-01910-RDP, 9 in 2: 12-cv-

nh
Ww

06/28/2012

7of 19 9/7/12 8:36 AM
4 CM/ECF - US. District Couionthesp Tigtrics afolabama. iment 2-7 Bitety ed Aire yseourtsepx/ep ofpity BKtRpt pl?8405027702095 ...

02185-RDP). The motion is GRANTED. This case is SET for a status
conference at [lam on 7/25/2012, in Courtroom 7A of the Hugo L. Black US
Courthouse. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-ev-02169-RDP, 2: 12-cv-02185-RDP(AVC) (Entered: 06/28/2012)

07/10/2012 26 | ALL PARTIES' Proposed Agenda for July 25,2012 Status Conference by Blue
Cross and Blue Shield Association, Blue Cross and Blue Shield of Alabama,
Nicholas A Layman, One Stop Environmental, LLC, Chris Bajalieh, Consumer
Financial Education Foundation of America Inc, American Electric Motor
Services Inc, Fred R Richards, Richards and Sons Construction Company Inc.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2; 12-cv-
02169-RDP, 2:12-cv-02185-RDP(Small, Daniel) Modified on 7/11/2012 (AVC).
(Entered: 07/10/2012)

07/10/2012 27 | Consent MOTION to Vacate (34 in 2:12-cv-01133-RDP, 34 in 2:12-cv-
01133-RDP) Order,,, Terminate Motions,, by Blue Cross and Blue Shield
Association. Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP,
2:12-cy-02169-RDP, 2: 12-cv-02185-RDP( West, Kimberly) (Entered:
07/10/2012)

07/11/2012 28 ; TEXT ORDER - The court has before it Defendants’ Agreed Motion to Vacate
(Doc. # 43), filed July 10,2012. The parties request that the court vacate the
June 21,2012 scheduling order. The Motion (Doc. # 43) is GRANTED. The
court will set a briefing schedule at the July 25, 2012 conference. Signed by
Judge R David Proctor on 07/11/12. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP(SFR, ) (Entered:
07/11/2012)

07/24/2012 29 | MOTION for Admission Pro Hac Vice of Arthur N. Bailey, Jr. by Richards and
Sons Construction Company Inc. (Attachments: # | Exhibit)Associated Cases:
2: 12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-
RDP(Hellums, Christopher) Modified on 7/24/2012 (AVC). (Entered:
07/24/2012)

07/24/2012 30 | TEXT ORDER -This matter is before the court on the Motion for Admission

Pro Hac Vice of Arthur N. Bailey, Jr. (Doc. #45). The Motion (Doc. # 45) is

GRANTED. Signed by Judge R David Proctor on 7/24/2012. Associated Cases:

2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-
RDP(AVC) (Entered: 07/24/2012)

07/24/2012 PHV Fee paid: $50, Receipt# 1126-1716393 (ALND# B4601035590).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP(Hellums, Christopher) Modified on 7/24/2012
(AVC). (Entered: 07/24/2012)

Minute Entry for proceedings held before Judge R David Proctor: Status
Conference held on 7/25/2012, The court will enter a separate order outlining
the deadlines as indicated on the record. (Court Reporter Anita McCorvey.)

07/25/2012

8 of 19 9/7/12 8:36 AM
4 CM/ECF - U.S. District Cen Nonthes Digyicboldabeycument 2-7 testy! Ore bie eyss upbeat Upc finy BRIER pt pl?8405027702095...

Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP(KLL) (Entered:
07/27/2012)

07/26/2012 31 | TEXT ORDER -On July 25, 2012, the court conducted a status conference in
these consolidated cases. At the status conference, the court was informed that
an additional case, Case No. 2:12-cv-02532-LSC, Conway v. Blue Cross and
Blue Shield of Alabama, et al, had been filed and may be appropriate for
consolidation with this case, despite the fact that additional defendants are
named in that case. At the status conference, counsel for Blue Cross and Blue
Shield Association agreed to undertake to notify the defendants in that case that,
if they intend to oppose consolidation of that case with these cases, they should
file a notice with the court on or before August 3, 2012. Counsel for Blue Cross
and Blue Shield Association is DIRECTED to make those other Blue Cross and
Blue Shield entities who are named in that case and with whom the have contact
aware of this Order. Signed by Judge R David Proctor on 7/26/2012. Associated
Cases: 2:]2-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP(AVC) (Entered: 07/26/2012)

ORDER-By agreement of the parties, it is ORDERED that case 2:12-cv-
2525-KOB, be consolidated with case 2:12-cv-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
1133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP(AVC) (Entered: 07/27/2012)

Q |
a!
to
~J
ee
No
Qo
=
No
KS
Ina

07/27/2012

ta
Sati

ORDER-By agreement of the parties, it is ORDERED that case 2: 12-cv-
2537-TMP will be consolidated with 2:12-cvy-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
01133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

07/27/2012 34 | ORDER -It is the courts intent to appoint Interim Lead Class Counsel pursuant
to Federal Rule of Civil Procedure 23(g2)(3) in these consolidated cases.
Applications and/or nominations for the Inter1m Lead Class Counsel position
must be filed with the Clerks Office electronically on or before Tuesday,
September 4, 2012. Signed by Judge R David Proctor on 7/27/2012. Associated
Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

07/31/2012 Transcript of Proceedings held on 7/25/2012, before Judge R. David Proctor.
Court Reporter/Transcriber Anita McCorvey, Telephone number 205-278-2063.
Transcript may be viewed at the court public terminal or purchased through the

Court Reporter/Transcriber before the deadline for Release of Transcript

at
tt

9 of 19 9/7/12 8:36 AM
4 CM/ECF - U.S. District Cond dNanthym PistizygiAlapypayment 2-7 Fite Geniatnyd.pscomrg.gov{qgi in Akt pt.pl?8405027702095...

Restriction. After that date it may be obtained through PACER. NOTICE: Phe
paruics have seven (7) calendar days to file with the Court a Notiee of Intent to
Request Redaction of this transcript. If no such Notice is filed. the transcript will
be made remotely electronically available to the public without redaction after
90 calendar days. (A copy can be obtained at http://w ww.alnd.uscourts.gov/local
‘court forms/transcripts/Transcript Redaction Policy.pdf) See Transcript
Redaction Policy Redaction Request due 8/21/2012. Redacted Transcript
Deadline set for 8/31/2012. Release of Transcript Restriction set for 10/29/2012.
Associated Cases: 2:12-cv-01133-RDP, 2: [2-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-
RDP(AVC) (AVC, ). (Entered: 07/3 1/2012)

08/02/2012 36 | Amended Transcript of Proceedings held on 7/25/2012, before Judge R, David
Proctor. Court Reporter/Transcriber Anita McCorvey, Telephone number
205-278-2063. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for
Release of Transcript Restriction. After that date it may be obtained through
PACER. NOVTICH: The parties have seven (7) calendar days to fiie with the
Courta Notice of Intent to Request Redaction of this transeript. ino such
Notice is filed. the transeript will be made remotely electronically available to
the public without redaction alter 90 calendar days. (A copy can be obtained at
http://www.alnd.uscourts.gov/ocal/court forms/transcripts/Transcript Redaction
Policy.pdf) See Transcript Redaction Policy Redaction Request due 8/23/2012.
Redacted Transcript Deadline set for 9/4/2012. Release of Transcript Restriction
set for 10/31/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02537-
RDP(AVC) (Entered: 08/02/2012)

08/07/2012 37 | ORDER-This matter is before the court on the Provider Pltfs' Motion to
Consolidate and Establish Seperate Track (#2 in 2:12-cv-02532-LSC). By
agreement of the parties and over no objection from others, it is ORDERED that
the motion is GRANTED, and that case 2:12-cv-2532-LSC, be consolidated
with case 2:12-cv-1133-RDP. In the future, all other documents should be
electronically filed only in the lead case, Richards, et al. v. Blue Cross and Blue
Shield of Alabama, et al., 2:12-CV-01133-RDP. Signed by Judge R David
Proctor on 8/6/2012. Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/07/2012)

08/10/2012 38 | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Biue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2:12-cv-02537-RDP(Priester, James) Modified on 8/10/2012
(AVC). (Entered: 08/10/2012)

10 of 19 9/7112 8:36 AM
“} CM/ECF - US. District GoyeaNptbyenQistigneiaslabyRsument 2-7  Fhees-deyGtye.pscomegpov{cwigfiny BKtRpt-pl?8405027702095...

08/16/2012 39 | NOTICE of Appearance by Carl S Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama. Associated Cases: 2:12-cy-01133-RDP, 2:12-cv-01910-RDP,
2: [2-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(Burkhalter, Carl) Modified on 8/16/2012
(AVC). (Entered: 08/16/2012)

08/17/2012 40 | STIPULATION (Agreed) of the Conway Parties by Blue Cross and Blue Shield
Association. filed by Blue Cross and Blue Shield Association Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cy-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-

RDP( West, Kimberly) (Entered: 08/17/2012)

08/17/2012 41 | NOTICE of Appearance by Pamela B Slate on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Blue Shield of Alabama Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cyv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(SI ate, Pamela) (Entered: 08/17/2012)

08/20/2012 42 MOTION for Leave to Appear pro hac vice of Charles R. Watkins by Chris
Bajalich, Consumer Financial Education Foundation of America Inc. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/20/2012. 43 | MOTION for Leave to Appear pro hac vice of John R. Wilie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cyv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RPP(Guin, David) (Entered: 08/20/2012)

08/21/2012 44 | ORDER- Before the court is the Motion for Admission Pro Hac Vice of Charles
R. Watkins (59 in 2:12-cv-01133-RDP). The motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Watkins SHALL: pay the $50 filing fee,
and Certify to the court that he has read and understands: any local rules
applicable in this District; the Alabama State Bar Pledge of Professionalism; this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012,
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 45 | MOTION for Leave to Appear pro hac vice of John R. Wylie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2; 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/21/2012)

08/21/2012 46 | CERTIFICATE of Counsel of Charles R. Watkins i in n support of Motion t to
Appear Pro Hac Vice by David J Guin on behalf of Chris Bajalieh, Consumer

11 of 19 9/7/12 8:36 AM
3%
5

4 CM/ECF - U.S. District (out Navahgyn NistrioyasAlabgria ment 2-7 FHeRa Ces fare uscopsly gav/egi bimdakiR pt pl?8405027702095...

Financial Education Foundation of America Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Guin, David)
(Entered: 08/21/2012)

08/21/2012 PHV Fee paid: $100.00, Receipt# B4601036372 for Attomeys Charles R.
Watkins and John R. Wylie. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02 169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 47 | ORDER-Before the court is Motion for Admission Pro Hac Vice of John R.
Wylie (62 in 2:12-cv-01133-RDP). The Motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Wylie SHALL: pay the $50 filing fee, and
Certify to the court that he has read and understands: any local rules applicable
in this District; the Alabama State Bar Pledge of Professionalism; and this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/27/2012 48 | NOTICE of Appearance by J Bentley Owens, [JI on behalf of Premera Blue
Cross of Alaska Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cev-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(Owens, J) (Entered: 08/27/2012)

08/27/2012 49 | MOTION for Leave to Appear Pro Hac Vice for Gwendolyn C. Payton by
Premera Blue Cross of Alaska. (Attachments: # | Exhibit A)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-
RDP(Owens, J) (Entered: 08/27/2012)

08/27/2012 50 | MOTION for Leave to Appear Pro Hac Vice for Erin M. Wilson by Premera
Blue Cross of Alaska. (Attachments: # | Exhibit A)Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cy-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J)
(Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743094 (ALND# B4601036526).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743 100 (ALND# B4601036527).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

12 of 19 OTL2 8:36 AM
4 CM/ECF - US. District @as& orn Netri2ude@labawaument 2-7 Files: Gexame.gscomesgaovicBi hin/BktR pt.pl?8405027702095 ..

08/27/2012 51 | NOTICE of Appearance by John M Johnson on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2: 12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv- 02532- RDP, 2: 12- cv-02537- RDPUohnson, John) (Entered: 08/27/2012)

| NOTICE of Appearance by Brian P Kappel on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2: 12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Kappel, Brian) (Entered: 08/27/2012)

BY

08/27/2012

08/27/2012 MOTION for Limited Admission (Pro Hac Vice of Kathleen Taylor Sooy) by
Blue Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas
City, Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
1)Associated Cases: 2:12-cv-01133-RDP, 2:{2-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2:12-cv- 02537- RDP(Johnson, John) (Entered: 08/27/2012)

Ie

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743195 (ALND# B4601036529),
Associated Cases: 2:12-cv-01133-RDP, 2:12-cvy-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2: [2-cv-02537-RDP(Johnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 54 | MOTION for Limited Admission (Pro Hac Vice of Tracy A. Roman) by Blue
Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas City,
Blue Cross and Blue Shield of Nebraska. (Attachments: # £ Exhibit
1)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2; 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2: 12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743214 (ALND# B4601036530).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2: 12-cv-02537-RDP(Johnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/29/2012 ORDER: 70 and 71 , Motions for Leave to Appear PHV for Kathleen Taylor

Sooy and Tracy Roman are GRANTED; 66 and 67 , Motions for Leave to
Appear Pro Hac Vice for Gwendolyn Payton and Brin Wilson are
CONDITIONALLY GRANTED, as further set out in order. Signed by Judge R
David Proctor on 08/29/12. Associated Cases: 2: 12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(CVA) Modified on 8/29/2012 (CVA),

(Entered: 08/29/2012)

AA
CAL

13 of 19 O72 8:36 AM
4 CM/ECE - US. District @oges Son orn Ristinudalabymeument 2-7 Flies: G@fome.wscoprsge vicgi hinPlOKtR pt.pl?8405027702095 ...

08/30/2012 56 | NOTICE of Appearance by Cavender C Kimble on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-
02.169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

MOTION for Leave to Appear Pro Hac Vice Craig A. Hoover by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,

08/30/2012

4
~]

MOTION for Leave to Appear Pro Hac Vice J. Robert Robertson by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Health Plans of Maine,
Anthem Inc, Blue Cross and Blue Shield of Florida, Blue Cross and Blue Shield
of Georgia, Blue Cross and Blue Shield of Louisiana, Blue Cross and Blue
Shield of Massachusetts, Blue Cross and Blue Shield of Minnesota, Blue Cross
and Blue Shield of North Carolina, Blue Cross and Blue Shield of South
Carolina, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kimble,
Cavender) (Entered: 08/30/2012)

08/30/2012

IZ
oF

08/30/2012 59 | MOTION for Leave to Appear Pro Hac Vice Emily M. Yinger by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of

Id of 19 9/7/12 8:36 AM
-4  CM/ECF- US. District Goyer Soytpsrn RistrisyghAlabama ment 2-7 Fhises: Gerais yscopragepe vfagichinlaktR pt pl?8405027702095...

Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: ]2-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 60 | MOTION for Leave to Appear Pro Hac Vice £. Desmond Hogan by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawait Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-O1133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2: 12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 Ol | NOTICE of Appearance by D Keith Andress on behalf of Biue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Andress, D) (Entered: 08/30/2012)

08/30/2012 62 | MOTION for Leave to Appear Pro Hac Vice N. Thomas Connally by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cy-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 63 | NOTICE of Appearance by Kevin R Garrison on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2: 12-cy-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2: |2-cv-02537-RDP(Garrison, Kevin} (Entered:

15 of 19 Of712 8:36 AM
4 CMIECF - U.S. District Coy qyilorn Ristioudalabaeument 2-7 Fist: Gerlaine.vscoprigcgo viggi cht uPOKtR pt.pl?8405027702095....

08/30/2012)

08/30/2012 64 | NOTICE of Appearance by Emily M Yinger on behalf of Anthem Biue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Biue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) (Entered:
08/30/2012)

08/30/2012 65 | NOTICE of Appearance by N Thomas Connally, IJ on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Blue Cross and Blue Shield of
Tennessee, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Connally, N)
(Entered: 08/30/2012)

08/30/2012 66 | NOTICE of Appearance by E Desmond Hogan on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-O1910-RDP, 2: 12-cvy-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, E) (Entered:
08/30/2012)

16 of 19 9/7/12 8:36 AM
4 CM/ECF - U.S. District Gog Nay hsp Qistrisyei Alabama yment 2-7 Files: ofa wscoptras ga vicpi hima iR pt.pl'?8405027702095...

08/30/2012 67 | NOTICE of Appearance by Craig A Hoover on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Hoover, Craig) (Entered:
08/30/2012)

08/3 1/2012 68 | NOTICE of Appearance by J Robert Robertson on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Ine, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawali Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Robertson, J) (Entered:
08/3 1/2012)

08/31/2012 69 | ORDER-Before the court are Motions for Admission Pro Hac Vice on behalf of
Craig A. Hoover 74 ,J. Robert Robertson 75 , Emily M. Yinger 76 , E.
Desmond Hogan 77 , and N. Thomas Connally 79 . The motions are
CONDITIONALLY GRANTED. By 9/7/2012, the Attorneys seeking admission
SHALL pay the $50 pro hac vice fee; and Certify to the court that they have
read and understand: any local rules applicable in this District; the Alabama
State Bar Pledge of Professionalism; this court's CM/ECF requirements. Signed
by Judge R David Proctor on 8/30/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered:

08/3 1/2012)

08/31/2012 PHV Fee paid: $250.00, Receipt# B4601036604, for Attorneys Craig A.
Hoover, J. Robert Robertson, Emily M. Yinger, E. Desmond Hogan and N.
Thomas Connally. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-

17 of 19 9/7/12 8:36 AM
4 CM/ECF - U.S, District Coyet Ney fern Qigtrie oie lapynayment 2-7 Flies: Gerfayd.sscopris po v4qgi pi n7QktR pt. pl?8405027702095

02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/3 1/2012)

09/04/2012 70 | NOTICE of Compliance re: Attorneys Gwendolyn C. Payton and Erin M.
Wilson by Premera Blue Cross of Alaska re (31 in 2:12-cv-02532-
RDP)(Attachments: # J Exhibit Application and Declaration of Gwendolyn C.
Payton in Support of Motion for Admission Pro Hac Vice, # 2 Exhibit
Application and Declaration of Erin M. Wilson in Support of Motion for
Admission Pro Hac Vice)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
O01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Owens, J) Modified on 9/4/2012
(AVC). (Entered: 09/04/2012)

09/04/2012 MOTION to be Appointed Lead Counsel in the Provider Track by Jerry L
Conway. (Attachments: # 1 Exhibit 1, #2 Exhibit 2)Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2;12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP( Whatley, Joe)
Modified on 9/4/2012 (AVC). (Entered: 09/04/2012)

~~]

|

09/04/2012 72 | Brief re(S0 in 2:12-cv-01133-RDP) Order,, Application to Appoint Cohen
Milstein as Interim Class Counsel and John D. Saxon as Interim Liaison
Counsel. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
D, #5 Exhibit E, #6 Exhibit F, #7 Exhibit G, # 8 Exhibit H)Associated Cases:
2:12-cev-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Small, Daniel) (Entered: 09/04/2012)

09/04/2012 73 | JOINT Application of Boies, Schiller & Flexner LLP, Donaldson & Guin, LLC,
and Pittman, Dutton & Hellums, PC to Serve as Interim co-Lead Counsel by
Nicholas A Layman, One Stop Environmental, LLC. (Attachments: # | Exhibit
A, #2 Exhibit B, # 3 Exhibit C, #4 Exhibit D, # 5 Exhibit E)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-ev-02532-RDP, 2: 12-cv-02537-
RDP(Hellums, Christopher) Modified on 9/5/2012 (AVC). (Entered:
09/04/2012)

09/04/2012 74 | MOTION to Appoint Counsel Greg Davis Interim Lead Class Counsel in the
Subscriber Track by GC Advertising LLC. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2; 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:1 2-cv-02537-RDP(Davis, Gregory)
Modified on 9/5/2012 (AVC). (Entered: 09/04/2012)

09/05/2012 75 | CERTIFICATION of Emily M. Yinger Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) Modified
on 6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 76 | CERTIFICATION of N. Thomas Connally Associated Cases: 2: 12 Cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,

18 of 19 7/12 8:36 AM
4 CMIECF - US. District @ayeseyttornistrzAde\labyRaument 2-7 Fiitsps: ieiatiyd. gscommas pov cpictiry BktR pt pl?8405027702095 ..,

2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cy-02537-RDP(Connally, N)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 77 | CERTIFICATION of E. Desmond Hogan Associated Cases: 2: 42. cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, E)
Modified on 91612012 (AVC). (Entered: 09/05/2012)

09/05/2012 78 CERTIFICATION of Craig A. Hoover Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: |2-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 79 | CERTIFICATIION of J. Robert Robertson Associated Cases: 2: 2 cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Robertson, J)
Modified on 9/6/2012 (AVC), (Entered: 09/05/2012)

09/06/2012 80 SUPPLEMENT to the Application to Appoint Cohen Milstein as Interim Class
Counsel and John D. Saxon as Interim Liason Counsel (89 in 2:12-cv-
01133-RDP) by Thomas A Carder, Jr, Industrical Sales & Service LLC,
American Electric Motor Services Inc, Fred R Richards, Richards and Sons
Construction Company Inc Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-ev-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2; 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Small, Daniel) Modified on 9/7/2012
(AVC). (Entered: 09/06/2012)

| PACER Service Center
| Transaction Receipt

| (0/07/2012 08:35:35

[PACER Login: jgd0814 [Client Code: |

Description: [Docket Report [Seareh Criteria: [2:12-cv-01910-RDP
[Billable Pages: [13 |Cost: [1.30

19 of 19 FEZ 8:36 AM
tf
«olde

_ . 2012 May-17 PM Q3:
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 20 of 78 He DISTRICT Cou

N.O. OF ALABA

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABAMA

SOUTHERN DIVISION
ONE STOP ENVIRONMENTAL, )
LLC and NICHOLAS A. LAYMAN, | )
) CLASS ACTION COMPLAINT
Plaintiffs, )
¥. )
) JURY TRIAL DEMANDED
BLUE CROSS AND BLUE SHIELD  )
OF ALABAMA, and )
BLUE CROSS AND BLUE SHIELD _ ) Case No
ASSOCIATION, ,
Defendants. )
)

CLASS ACTION COMPLAINT

Plaintiffs, One Stop Environmental, LLC and Nicholas A. Layman, on
behalf of themselves and all others similarly situated, for their Complaint against
Defendants, Blue Cross and Blue Shield of Alabama (“BCBS-AL”) and the Blue
Cross and Blue Shield Association (““BCBSA”), allege as follows:

NATURE OF THE CASE

1. This is a class action brought on behalf of subscribers of BCBS-AL to
enjoin an ongoing conspiracy in violation of the Sherman Act between BCBS-AL
and the thirty-seven other BCBSA member health plans. In addition, this action
seeks to recover damages in the form of inflated premiums that BCBS-AL has

charged as a result of this illegal conspiracy, and as a result of anticompetitive

]
ww wth.

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 21 of 78

conduct it has taken in its illegal efforts to establish and maintain monopoly power
throughout Alabama.

2. BCBS-AL is by far the largest health insurance company operating in
Alabama and currently exercises market power in the commercial health insurance
market throughout Alabama. As of 2008, at least 93 percent of the Alabama
residents who subscribe to full-service commercial health insurance (whether
through group plans or through individual policies) are subscribers of BCBS-AL —
vastly more than are subscribers of the next largest commercial insurer operating in
Alabama, United Healthcare, which carries only 3 percent of such subscribers. As
of 2011, BCBS-AL maintained a market share of 86 percent in the individual
market, and 96 percent in the small group market. Two recent studies concluded
that Alabama has the /east competitive health insurance market in the country.

3. The dominant market share enjoyed by BCBS-AL is the direct result
of an illegal conspiracy in which thirty-seven of the nation’s largest health
insurance companies have agreed that they will not compete with BCBS-AL in
Alabama, and that BCBS-AL will have the exclusive right to do business in
Alabama so long as it limits its competition with any of its thirty-seven co-
conspirators in each of their assigned geographic areas. These market allocation
agreements are implemented through Blue Cross and Blue Shield license

agreements executed between BCBSA, a licensing vehicle that is owned and
2
w valde

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 22 of 78

controlled by all of the Blue Cross and Blue Shield plans, and each individual Blue
Cross and Blue Shield licensee, including BCBS-AL. Through the terms of these
per se illegal license agreements, the independent Blue Cross and Blue Shield
entities throughout the country, including BCBS-AL, have explicitly agreed not to
compete with one another, in direct violation of Section 1 of the Sherman Act. By
so agreeing, they have attempted to entrench and perpetuate the dominant market
position that each Blue Cross and Blue Shield entity has historically enjoyed in its
specifically defined geographic market.

4, This illegal conspiracy to divide markets and to eliminate competition
extends beyond the use of the Blue Cross and Blue Shield brand names. Many of
the Blue Cross and Blue Shield affiliates have developed substantial non-Blue
brands that could compete in Alabama. However, the illegal conspiracy includes a
per se illegal agreement that the Blue Cross and Blue Shield licensees will not
compete with one another through the use of their non-Blue brands, beyond a
relatively de minimis extent. But for the illegal agreements not to compete with
one another, these entities could and would use their non-Blue brands to compete
with BCBS-AL throughout Alabama, which would result in greater competition
and lower premiums for subscribers.

5. The Defendants’ illegal conspiracy has perpetuated BCBS-AL’s

monopoly power in Alabama, which has resulted in skyrocketing premiums for
3
walle.

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 23 of 78

Alabama BCBS-AL enrollees for over a decade. BCBS-AL has perpetuated its
monopoly by using its market power to quash the competition. For example, in
1996, Alabama Power Co., Drummond Power Inc., South Trust Corporation,
among other companies, formed the Alabama Health Care Council (““AHCC”) in
an attempt to solicit competitive bids from BCBS-AL’s competitors. In a 2009
article calling BCBS-AL “Blue-opoly,” the Birmingham Business Journal reported
that BCBS-AL responded swiftly to the AHCC’s initiative by offering these
companies a three-year twenty-percent discount, quashing the competition and
effectively ending the AHCC initiative. The lack of competition BCBS-AL faces
because of its monopoly power and anticompetitive behavior, has led to higher
costs, resulting in higher premiums charged to BCBS-AL customers. As a result of
these inflated premiums, from 2000 to 2009, the average employer-sponsored
health insurance premium for families in Alabama increased by approximately
88.7 percent, whereas median earnings rose only 22.4 percent. BCBS-AL small
group policy premiums rose 28 percent from 2006 to 2010.

6. As the dominant player in all of Alabama’s health insurance markets,
BCBS-AL has led the way in causing premiums to be increased each year. In
2010, for example, BCBS-AL raised some premiums by as much as 21 percent.
As a result of these and other inflated premiums, between 2001 and 2009, BCBS-

AL increased its surplus from $433.7 million to $649 million. In 2011, BCBS-AL
4
vind deca

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 24 of 78

reported net income of $256.92 million, 58 percent higher than the previous year.
These inflated premiums would not be possible if the market for health insurance
in Alabama were truly competitive. Full and fair competition is the only answer to
artificially inflated prices, and competition is not possible so long as BCBS-AL
and BCBSA are permitted to enter into agreements that have the actual and
intended effect of restricting the ability of thirty-seven of the nation’s largest health
insurance companies from competing in Alabama.

JURISDICTION AND VENUE

7, This Court has federal question jurisdiction pursuant to 28 U.S.C. §§
1331 and 1337(a) because Plaintiffs bring their claims under Sections 4 and 16 of
the Clayton Act, 15 U.S.C. §§ 15 and 26, to recover treble damages and costs of
suit, including reasonable attorneys’ fees, against BCBSA and BCBS-AL for the
injuries sustained by Plaintiffs and the Class by reason of the violations, as
hereinafter alleged, of Sections | and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2.

8. Venue is proper in this district pursuant to Sections 4, 12 and 16 of the
Clayton Act, 15 U.S.C. §§ 15, 22, and 26, and 28 U.S.C. § 1391.

PARTIES

Plaintiffs

9, Plaintiff One Stop Environmental, LLC ts an Alabama corporation

with its principal office located at 4800 Division Ave, Birmingham, Alabama.
5
od

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 25 of 78

Plaintiff One Stop Environmental, LLC purchases BCBS-AL health insurance to
cover Its 25 employees.

10. Plaintiff Nicholas A. Layman is a resident citizen of Jefferson County,
Alabama. He has been enrolled in an individual BCBS-AL health insurance policy
since at least April 2008.

Defendants

11. Defendant BCBSA is a corporation organized under the state of
Hlinois and headquartered in Chicago, Itlinois. It is owned and controlled by
thirty-eight (38) health insurance plans that operate under the Blue Cross and Blue
Shield trademarks and trade names. BCBSA was created by these plans and
operates as a licensor for these plans. Health insurance plans operating under the
Blue Cross and Blue Shield trademarks and trade names provide health insurance
coverage for approximately 100 million — or one in three — Americans. A BCBS
licensee is the largest health insurer, as measured by number of subscribers, in
forty-four (44) states.

12. The principal headquarters for BCBSA is located at 225 North
Michigan Avenue, Chicago, IL 60601.

13. BCBSA has contacts with the State of Alabama by virtue of its

agreements and contacts with BCBS-AL. In particular, BCBSA has entered into a
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 26 of 78

series of license agreements with BCBS-AL that control the geographic areas in
which BCBS-AL can operate. These agreements are a subject of this Complaint.

14. Defendant BCBS-AL is the health insurance plan operating under the
Blue Cross and Blue Shield trademarks and trade names in Alabama. Like other
Blue Cross and Blue Shield plans nationwide, BCBS-AL is the largest health
Insurer, as measured by number of subscribers, within its service area, which is
defined as the state of Alabama.

15. The principal headquarters for BCBS-AL is located at 450 Riverchase
Parkway East, Birmingham, AL 35244. BCBS-AL does business in each county in
the state of Alabama.

TRADE AND COMMERCE

16. BCBS-AL and the 37 other health plans that own and control BCBSA
are engaged in interstate commerce and in activities substantially affecting
interstate commerce, and the conduct alleged herein substantially affects interstate
commerce. BCBSA enters into agreements with health insurance companies
throughout the country that specify the geographic areas in which those companies
can compete. BCBS-AL provides commercial health insurance that covers
Alabama residents when they travel across state lines, purchases health care in

interstate commerce when Alabama residents require health care out of state, and
ot dle

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 27 of 78

receives payments from employers outside of Alabama on behalf of Alabama

residents.

CLASS ACTION ALLEGATIONS

17. Plaintiffs bring this action on behalf of themselves and on behalf of a
class of plaintiffs. Plaintiffs bring this action seeking damages on behalf of a class
pursuant to the provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of the
Federal Rules of Civil Procedure, with such class (the “Alabama Class”) defined
as:

All persons or entities who, from May 17, 2008 to the present (the
“Class Period”) have paid health insurance premiums to BCBS-AL
for individual or small group full-service commercial health
insurance,

18. The Class is so numerous and geographically dispersed that joinder of
all members is impracticable. While Plaintiffs do not know the number and
identity of all members of the Class, Plaintiffs believe that there are millions of
Class members, the exact number and identities of which can be obtained from
BCBS-AL.

19, There are questions of law or fact common to the Class, including but

not limited to:
od

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 28 of 78

a. Whether the restrictions set forth in the BCBSA license
agreements are per se violations of Section | of the Sherman Act,
or are otherwise prohibited under Section 1 of the Sherman Act;

b. Whether, and the extent to which, premiums charged by BCBS-AL
to class members have been artificially inflated as a result of the
illegal restrictions in the BCBSA license agreements;

c. Whether, and the extent to which, premiums charged by BCBS-AL
have been artificially inflated as a result of the anticompetitive
practices adopted by BCBS-AL.

20. The questions of law or fact common to the members of the Class
predominate over any questions affecting only individual members, including legal
and factual issues relating to liability and damages.

21. Plaintiffs are members of the Alabama Class; their claims are typical
of the claims of the members of the Class; and Plaintiffs will fairly and adequately
protect the interests of the members of the Class. Plaintiffs and the Alabama Class
are direct purchasers of individual or small group full-service commercial health
insurance from BCBS-AL, and their interests are coincident with and not
antagonistic to other members of the Class. In addition, Plaintiffs have retained
and are represented by counsel who are competent and experienced in the

prosecution of antitrust and class action litigation.
9
vidoe

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 29 of 78

22. The prosecution of separate actions by individual members of the
Class would create a risk of inconsistent and varying adjudications, establishing
incompatible standards of conduct for BCBSA and BCBS-AL.

23. A class action is superior to other available methods for the fair and
efficient adjudication of this controversy. The Class is readily definable and is one
for which BCBS-AL has records. Prosecution as a class action will eliminate the
possibility of repetitious litigation. Treatment of this case as a class action will
permit a large number of similarly situated persons to adjudicate their common
claims in a single forum simultaneously, efficiently, and without the duplication of
effort and expense that numerous individual actions would engender. Class
treatment will also permit the adjudication of relatively small claims by many class
members who otherwise could not afford to litigate an antitrust claim such as is
asserted in this Complaint. This class action does not present any difficulties of
management that would preclude its maintenance as a class action.

FACTUAL BACKGROUND

General Background and Summary of Allegations

24. BCBS-AL enjoys unrivaled market dominance within Alabama. As
of 2008, BCBS-AL enrolled at least 93 percent of the subscribers of full-service
commercial health insurance plans, whether offered through a health maintenance

organization (“HMO”) or through a preferred provider organization (“PPO”) plan.
10
obo.

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 30 of 78

As of 2011, BCBS-AL maintained a market share of 86 percent in the individual
market, and 96 percent in the small group market.

25, BCBS-AL’s market dominance in Alabama is the result of a
conspiracy between BCBS-AL and the thirty-seven other insurance companies that
license the Blue Cross and/or Blue Shield brands to unlawfully divide and allocate
the geographic markets for health insurance coverage in the United States. That
conspiracy is implemented through the Blue Cross and Blue Shield license
agreements that each licensee has entered into with Defendant BCBSA. As
detailed herein, the member health insurance plans of BCBSA, including BCBS-
AL, have entered into a series of licensing arrangements that have insulated BCBS-
AL and the other health insurance plans operating under the Blue Cross and/or
Blue Shield trademarks from competition in each of their respective service areas.

26. This series of agreements has enabled BCBS-AL to acquire and
maintain a grossly disproportionate market share for health insurance products in
Alabama, where BCBS-AL enjoys market and monopoly power.

27. BCBS-AL has used its market and monopoly power in Alabama to
engage in a number of anticompetitive practices. For example, BCBS-AL uses its
market and monopoly power and its reimbursement policy, including a refusal to

directly reimburse non-contracting providers, to threaten providers into contracting

1]
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 31 of 78

with BCBS-AL at below-market rates. Faced with this prospect, providers
capitulate to BCBS-AL’s demands.

28. Because the BCBSA licensing agreements exclude rival health
insurance plans from the market, BCBS-AL faces little pressure to constrain its
own costs. With few other health insurance plan options to compete with, BCBS-
AL can raise premiums (and thereby recoup its costs) without any concern that its
subscribers may switch to a rival insurance plan. The few consumers who
subscribe to rival insurance plans face higher premiums as well, as these plans pass
on to their subscribers the high cost of competing against BCBS-AL.

29. Defendants’ anticompetitive practices, by reducing the choices
available to health insurance consumers and increasing the cost of health care in
Alabama, have raised the premiums that Alabama residents must pay to obtain
health insurance. BCBS-AL’s rival health insurance plans are excluded from the
market, and the few rival plans that have broken into the Alabama market must pay
significantly higher rates to health care providers.

30. The skyrocketing cost of BCBS-AL health insurance coverage in
Alabama tells the story of BCBS-AL’s abuse of its market and monopoly power at
the expense of health care plan consumers in Alabama. In 2011 only, BCBS-AL’s
premiums have sustained a 17 percent increase for some of its individual

subscribers.
12
wo tah dite po

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 32 of 78

History of the Blue Cross and Blue Shield Plans and of BCBSA

31. The history of the Blue Cross and Blue Shield plans demonstrates that
the plans arose independently, that they jointly conceived of the Blue Cross and
Blue Shield marks in a coordinated effort to create a national brand that each
would operate within its local area, and that they quickly developed into local
monopolies in the growing market for health care coverage. While originally
structured as non-profit organizations, since the 1980s these local Blue plans have
increasingly operated as for-profit entities: either by formally converting to for-
profit status, or by generating substantial surpluses that have been used to fund
multi-million dollar salaries and bonuses for their administrators.

32. The history of BCBSA demonstrates that it was created by the local
Blue plans and is entirely controlled by those plans. Moreover, the history of
BCBSA demonstrates that the origin of the geographic restrictions in its trademark
licenses was an effort to avoid competition between the various Blue plans, and to
ensure that each Blue plan would retain a dominant position within its local service
area.

Development of the Blue Cross Plans

33. In 1934, an administrator named E.A. von Steenwyck helped develop
a prepaid hospital plan in St. Paul, Minnesota. In his effort to help sell the plan, he

commissioned a poster that showed a nurse wearing a uniform containing a blue
13
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 33 of 78

Geneva cross, and used the symbol and the name “Blue Cross” to identify the plan.
This is believed to be the first use of the Blue Cross symbol and name as a brand
symbol for a health care plan. Within the year, other prepaid hospital plans began
independently using the Blue Cross symbol.

34. In 1937, Blue Cross plan executives met in Chicago. At that meeting,
American Hospital Association (“AHA”) officials announced that prepaid hospital
plans meeting certain standards of approval would receive institutional
membership in the AHA. In 1938, the Committee on Hospital Service adopted a
set of principles to guide its “approval” of prepaid hospital plans. One such
principle was that the plans would not compete with each other. When the
approval program went into effect, there were already 38 independently formed
prepaid hospital plans with a total of 1,365,000 members.

35. In 1939, the Blue Cross mark was adopted as the official emblem of
those prepaid hospital plans that received the approval of the AHA.

36. In 1941, the Committee on Hospital Service, which had changed its
name to the Hospital Service Plan Committee, introduced a new standard: that
approval would be denied to any plan operating in another plan’s service area.
Contrary to the principles that plans would not compete and that plans would not
operate in each other’s service areas, the independently formed prepaid hospital

plans, now operating under the Blue Cross name, engaged in fierce competition
14
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 34 of 78

with each other and often entered each other’s’ territories. The authors of The
Blues: A History of the Blue Cross and Blue Shield System, which BCBSA
sponsored and its officers reviewed prior to publication, describe the heated
competition between the various Blue Cross plans at that time:

The most bitter fights were between intrastate rivals .... Bickering over

nonexistent boundaries was perpetual between Pittsburgh and Philadelphia,

for example. .. . John Morgan, who directed a Plan in Youngstown, Ohio,
for nearly twenty-five years before going on to lead the Blue Cross Plan in

Cincinnati, recalled: “In Ohio, New York, and West Virginia, we were knee

deep in Plans.” At one time or another, there were Plans in Akron, Canton,

Columbus, Cleveland, Cincinnati, Lima, Portsmouth,. Toledo, and

Youngstown .... By then there were also eight Plans in New York and four

in West Virginia. .. . Various reciprocity agreements between the Plans

were proposed, but they generally broke down because the Commission did

not have the power to enforce them.

37. For many years, Cross-on-Cross competition continued, as described
in Odin Anderson’s Blue Cross Since 1929: Accountability and the Public Trust,
which was funded by the Blue Cross Association, one predecessor to BCBSA.
Anderson points to Illinois and North Carolina, where “[t]he rivalry [between a
Chapel Hill plan and a Durham plan] was fierce,” as particular examples, and
explains that though “Blue Cross plans were not supposed to overlap service
territories,” such competition was “tolerated by the national Blue Cross agency for

lack of power to insist on change.”

38. By 1975, the Blue Cross plans had a total enrollment of 84 million.

15
olan

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 35 of 78

Development of the Blue Shield Plans

39. The development of what became the Blue Shield plans followed, and
imitated, the development of the Blue Cross plans. These plans were designed to
provide a mechanism for covering the cost of physician care; just as the Blue Cross
plans had provided a mechanism for covering the cost of hospital care. Similarly,
the Blue Cross hospital plans were developed in conjunction with the AHA (which
represents hospitals), while the Blue Shield medical society plans were developed
in conjunction with the American Medical Association (“AMA”) (which represents
physicians).

40. Like the Blue Cross symbol, the Blue Shield symbol was developed
by a local medical society plan, and then proliferated as other plans adopted it.

41. In 1946, the AMA formed the Associated Medical Care Plans
(‘AMCP”), a national body intended to coordinate and “approve” the independent
Blue Shield plans. When the AMCP proposed that the Blue Shield symbol be used
to signify that a Blue Shield plan was “approved,” the AMA responded, “It is
inconceivable to us that any group of state medical society Plans should band
together to exclude other state medical society programs by patenting a term,
name, symbol, or product.” In 1960, the AMCP changed its name to the National
Association of Blue Shield Plans, which in 1976 changed its name to the Blue

Shield Association.
16
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 36 of 78

42. By 1975, the Blue Shield plans had a total enrollment of 73 million.

Creation of the Blue Cross and Blue Shield Association

43. Historically, the Blue Cross plans and the Blue Shield plans were
fierce competitors. During the early decades of their existence, there were no
restrictions on the ability of a Blue Cross plan to compete with or offer coverage in
an area already covered by a Blue Shield plan. Cross-on-Cross and Shield-on-
Shield competition also flourished.

44, However, by the late 1940s, the Blue plans faced growing competition
not just from each other, but also from commercial insurance companies that had
recognized the success of the Blue plans and were now entering the market.
Between 1940 and 1946, the number of hospitalization policies held by
commercial insurance companies rose from 3.7 million to 14.3 million policies.
While the Blues remained dominant in most markets, this growth of competition
was a threat. In particular, unlike the Blue plans, these commercial insurance
companies were able to offer uniform nationwide contracts, which were attractive
to large employers or unions with members located in different cities and states.

45. From 1947-1948, the Blue Cross Commission and the AMCP
attempted to develop a national agency for all Blue plans, to be called the Blue

Cross and Blue Shield Health Service, Inc., but the proposal failed. One reason

17
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 37 of 78

given for its failure was the AMA’s fear that a restraint of trade action might result
from such cooperation.

46. Even when the Plans were putatively cooperating, as they appeared to
be in the 1950s while competing with commercial insurers for the opportunity to
provide insurance to federal government employees, they were at war. As the
former marketing chief of the National Association of Blue Shield Plans admitted,
“Blue Cross was separate; Blue Shield was separate. Two boards; two sets of
managements. Rivalries, animosities, some days ... pure, unadulterated hatred of
each other.”

47. To address competition from commercial insurers and competition
from other Blue plans, and to ensure “national cooperation” among the different
Blue entities, the plans agreed to centralize the ownership of their trademarks and
trade names. In prior litigation, BCBSA has asserted that the local plans
transferred their rights in the Blue Cross and Blue Shield names and marks to the
precursors of BCBSA because the local plans, which were otherwise actual or
potential competitors, “recognized the necessity of national cooperation.”

48. Thus, in 1954, the Blue Cross plans transferred their rights in each of
their respective Blue Cross trade names and trademarks to the AHA. In 1972, the

AHA assigned its rights in these marks to the Blue Cross Association.

18
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 38 of 78

49. Likewise, in 1952, the Blue Shield plans agreed to transfer their
ownership rights in their respective Blue Shield trade names and trademarks to the
National Association of Blue Shield Plans, which was renamed the Blue Shield
Association in 1976.

50. During the 1970s, local Blue Cross and Blue Shield plans all over the
U.S. began merging. By 1975, the executive committees of the Blue Cross
Association and the National Association of Blue Shield Plans were meeting four
times a year. In 1978, the Blue Cross Association and the National Association of
Blue Shield Plans (now called the Blue Shield Association) consolidated their
staffs, although they retained separate boards of directors.

51. In 1982, the Blue Cross Association and the Blue Shield Association
merged to form BCBSA. At that time, BCBSA became the sole owner of the
various Blue Cross and Blue Shield trademarks and trade names that had
previously been owned by the local plans.

52. In November 1982, after heated debate, BCBSA’s member plans
agreed to two propositions: that by the end of 1984, all existing Blue Cross plans
and Blue Shield plans should consolidate at a local level to form Blue Cross and
Blue Shield plans; and that by the end of 1985, all Blue plans within a state should
further consolidate, ensuring that each state would have only one Blue plan. As a

result of these goals, the number of member plans went from 110 in 1984, to 75 in
19
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 39 of 78

1989, to 38 today. However, the goals did not end competition between Blue
plans. In the early 1980s, for example, Blue Cross of Northeastern New York and
Blue Shield of Northeastern New York competed head-to-head.

53. During the 1980s and afterwards, the plans began to operate less like
charitable entities and more like for-profit corporations, accumulating substantial
surpluses. In 1986, Congress revoked the Blues’ tax-exempt status, freeing them
to form for-profit subsidiaries.

54. In 1992, BCBSA ceased requiring Blue Cross and Blue Shield
licensees to be not-for-profit entities. As a result, many member plans converted to
for-profit status. One such plan, now called WellPoint, has grown to become the
largest health insurance company in the country, at least by some measures.
Others attempted to convert to for-profit status but failed. However, while
nominally still characterized as not-for-profit, BCBS-AL and other non-profit Blue
plans generate substantial earnings and surpluses, and pay their senior
administrators and officials substantial salaries and bonuses — often in the multi-
million dollar range.

55. From 1981 to 1986, the Blue plans lost market share at a rate of
approximately one percent per year. At the same time, the amount of competition
among Blue plans, and from non-Blue subsidiaries of Blue plans, increased

substantially. As a result of this increased competition, in April of 1987, the
20
wv sine

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 40 of 78

member plans of BCBSA held an “Assembly of Plans” -- a series of meetings held
for the purpose of determining how they would and would not compete against
each other. During these meetings, these independent health insurers and
competitors agreed to maintain exclusive service areas when operating under the
Blue brand, thereby eliminating “Blue on Blue” competition. However, the
Assembly of Plans left open the possibility of competition from non-Blue
subsidiaries of Blue plans — an increasing “problem” that had caused complaints
from many Blue plans.

56. Throughout the 1990s, the number of non-Blue subsidiaries of Blue
plans increased, and they continued to compete with Blue plans. As a result, the
member plans of BCBSA discussed ways to rein in such non-Blue branded
competition.

57. At some later date, the Blue Cross and Blue Shield plans together
agreed to restrict the territories in which they would operate under any brand, Blue
or non-Blue, as well as the ability of non-members of BCBSA to control or acquire
the member plans. These illegal restraints are discussed below.

Allegations Demonstrating Control of BCBSA By Member Plans

58. BCBSA calls itself “a national federation of 38 independent,
community-based and locally operated Blue Cross and Blue Shield companies”

and “the trade association for the Blue Cross Blue Shield companies.”
21
ete a ages

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 41 of 78

59, BCBSA is entirely controlled by its member plans, all of whom are
independent health insurance companies that license the Blue Cross and/or Blue
Shield trademarks and trade names, and that, but for any agreements to the
contrary, could and would compete with one another. On its website, BCBSA
admits that in its “unique structure,” “the Blue Cross and Blue Shield companies
are [its] customers, [its] Member Licensees and [its] governing Board.”

60. As at least one federal court has recognized, BCBSA “is owned and
controlled by the member plans” to such an extent that “by majority vote, the plans
could dissolve the Association and return ownership of the Blue Cross and Blue
Shield names and marks to the individual plans.” Central Benefits Mut. Ins. Co. v.
Blue Cross and Blue Shield Ass’n, 711 F. Supp. 1423, 1424-25 (S.D. Ohio 1989).

61. The Blue Cross and Blue Shield licensees contro! the Board of
Directors of BCBSA. In a pleading it filed during litigation in the Northern
District of Illinois, BCBSA admitted that its Board of Directors consists of “the
chief executive officer from each of its Member Plans and BCBSA’s own chief
executive officer.” The current chairman of the Board of Directors, Daniel J.
Loepp, is also the current President and CEO of Blue Cross Blue Shield of
Michigan. Terry Dee Kellogg, the current President and CEO of BCBS-AL, serves
on the Board of Directors of BCBSA. The Board of Directors of BCBSA meets at

least annually, including from November 3-4, 2010 in Chicago, IL.
22
vie a Ma

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 42 of 78

License Agreements and Restraints on Competition

62. The independent Blue Cross and Blue Shield licensees also control
BCBSA’s Plan Performance and Financial Standards Committee (the “PPFSC”), a
standing committee of the BCBSA Board of Directors that is composed of nine
member Plan CEOs and three independent members.

63. The independent Blue Cross and Blue Shield licensees control the
entry of new members into BCBSA. Ina brief it filed during litigation in the Sixth
Circuit Court of Appeals, BCBSA admitted that “[t]o be eligible for licensure, [an]
applicant ... must receive a majority vote of [BCBSA’s| Board” and that BCBSA
“seeks to ensure that a license to use the Blue Marks will not fall into the hands of
a stranger the Association has not approved.”

64. The independent Blue Cross and Blue Shield licensees control the
rules and regulations that all members of BCBSA must obey. According to a brief
BCBSA filed during litigation in the Sixth Circuit Court of Appeals, these rules
and regulations include the Blue Cross License Agreement and the Blue Shield
License Agreement (collectively, the “License Agreements”), the Membership
Standards Applicable to Regular Members (the “Membership Standards”), and the
Guidelines to Administer Membership Standards (the “Guidelines”).

65. The License Agreements state that they “may be amended only by the

affirmative vote of three-fourths of the Plans and three-fourths of the total then
23
canbe

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 43 of 78

current weighted vote of all the Plans.” In a brief it filed during litigation in the
Sixth Circuit Court of Appeals, BCBSA described the provisions of the License
Agreements as something the member plans “deliberately chose,” “agreed to,” and
“revised.” The License Agreements explicitly state that the member plans most
recently met to adopt amendments, if any, to the licenses on November 18, 2010.

66. Under the terms of the License Agreements a plan “agrees... to
comply with the Membership Standards.” The Guidelines state that the
Membership Standards and the Guidelines “were developed by the [PPFSC] and
adopted by the Member Plans in November 1994 and initially became effective as
of December 31, 1994;” that the Membership Standards “remain in effect until
otherwise amended by the Member Plans;” that revisions to the Membership
Standards “may only be made if approved by a three-fourths or greater affirmative
Plan and Plan weighted vote;” that “new or revised [Gluidelines shall not become
effective .. . unless and until the Board of Directors approves them;” and that
“Tt]he PPFSC routinely reviews” the Membership Standards and Guidelines “to
ensure that . . . all requirements (standards and guidelines) are appropriate,
adequate and enforceable.”

67. The independent Blue Cross and Blue Shield licensees police the
compliance of all members of BCBSA with the rules and regulations of BCBSA.

The Guidelines state that the PPFSC “is responsible for making the initial
24
vs swam baa

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 44 of 78

determination about a Plan’s compliance with the license agreements and
membership standards. Based on that determination, PPFSC makes a
recommendation to the BCBSA Board of Directors, which may accept, reject, or
modify the recommendation.” In addition, the Guidelines state that “BCBSA shall
send a triennial membership compliance letter to each [member] Plan’s CEO,”
which includes, among other things, “a copy of the Membership Standards and
Guidelines, a report of the Plan’s licensure and membership status by Standard,
and PPFSC comments or concerns, if any, about the Plan’s compliance with the
License Agreements and Membership Standards.” In response, “[t]he Plan CEO or
Corporate Secretary must certify to the PPFSC that the triennial membership
compliance letter has been distributed to all Plan Board Members.”

68. The independent Blue Cross and Blue Shield licensees control and
administer the disciplinary process for members of BCBSA that do not abide by
BCBSA’s rules and regulations. The Guidelines describe three responses to a
member plan’s failure to comply—“Immediate Termination,’ “Mediation and
Arbitration,” and “Sanctions’—each of which is administered by the PPFSC and
could result in the termination of a member plan’s license.

69. The independent Blue Cross and Blue Shield licensees control the
termination of existing members from BCBSA. The Guidelines state that based on

the PPFSC’s “initial determination about a Plan’s compliance with the license
25
wna det

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 45 of 78

agreements and membership standards. ... PPFSC makes a recommendation to the
BCBSA Board of Directors, which may accept, reject, or modify the
recommendation.” However, according to the Guidelines, “a Plan’s licenses and
membership [in BCBSA] may only be terminated on a three-fourths or greater
affirmative Plan and Plan weighted vote.” In a brief filed during litigation in the
Sixth Circuit Court of Appeals, BCBSA admitted that the procedure for
terminating a license agreement between BCBSA and a member plan includes a
“double three-quarters vote” of the member plans of the BCBSA: “In a double
three-quarters vote, each plan votes twice — first with each Plan’s vote counting
equally, and then with the votes weighted primarily according to the number of
subscribers.”

Horizontal Agreements

70. The independent Blue Cross and Blue Shield licensees are potential
competitors that use their control of BCBSA to coordinate their activities. As a
result, the rules and regulations imposed “by” the BCBSA on the member plans are
in truth imposed by the member plans on themselves.

71. Each BCBSA licensee is an independent legal organization. In a
pleading BCBSA filed during litigation in the Southern District of Florida, BCBSA
admitted that “[t]he formation of BCBSA did not change each plan’s fundamental

independence.” In fact, the License Agreements state that “[n]Jothing herein
26
wernt

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 46 of 78

contained shall be construed to constitute the parties hereto as partners or joint
venturers, or either as the agent of the other.”

72. The independent Blue Cross and Blue Shield licensees include many
of the largest health insurance companies in the United States. The largest health
insurance company in the nation by some measures is WellPoint, a BCBSA
licensee. Similarly, fifteen of the twenty-five largest health insurance companies
in the country are BCBSA licensees. On its website, BCBSA asserts that its
members together provide “coverage for more than 98 million individuals — one-
in-three Americans” and “contract with more hospitals and physicians than any
other insurer.” Absent the restrictions that the independent Blue Cross and Blue
Shield licensees have chosen to impose on themselves, discussed below, these
companies would compete against each other in the market for commercial health
insurance.

73. In a brief it filed during litigation in the Sixth Circuit Court of
Appeals, BCBSA admitted that the Member Plans formed the precursor to BCBSA
when they “recognized the necessity of national coordination.” The authors of The
Blues: A History of the Blue Cross and Blue Shield System describe the desperation
of the Blue Cross and Blue Shield licensees before they agreed to impose

restrictions on themselves:

27
vata dace a

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 47 of 78

The subsidiaries kept running into each other—and each other’s parent Blue
Plans—in the marketplace. Inter-Plan competition had been a fact of life
from the earliest days, but a new set of conditions faced the Plans in the
1980s, now in a mature and saturated market. New forms of competition
were springing up at every turn, and market share was slipping year by year.
Survival was at stake. The stronger business pressure became, the stronger
the temptation was to breach the service area boundaries for which the Plans
were licensed ....
On its website, BCBSA admits that “[w]hen the individual Blue companies’
priorities, business objectives and corporate culture conflict, it is our job to help
them develop a united vision and strategy” and that it “[e]stablishes a common
direction and cooperation between [BCBSA] and the 39 [now 38] Blue
companies.” As BCBSA’s general counsel, Roger G. Wilson, explained to the
Insurance Commissioner of Pennsylvania, “BCBSA’s 39 [now 38] independent
licensed companies compete as a cooperative federation against non-Blue
insurance companies.” One BCBSA member plan admitted in its February 17,
2011 Form 10-K that “[e]ach of the [38] BCBS companies... works cooperatively
in a number of ways that create significant market advantages ... .”
74. As the foregoing demonstrates, BCBSA is a vehicle used by
independent health insurance companies to enter into agreements that restrain
competition. Because BCBSA is owned and controlled by its member plans, any

agreement between BCBSA and one of its member plans constitutes a horizontal

agreement between and among the member plans themselves.

28
va tae

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 48 of 78

The Horizontal Agreements Not To Compete In The Licensing Arrangements
Between BCBSA And Its Member Plans, Including BCBS-AL, Are Per Se
Violations Of The Sherman Act

75. The rules and regulations of BCBSA, including, but not limited to, the
License Agreements, the Membership Standards, and the Guidelines, constitute
horizontal agreements between competitors, the independent Blue Cross and Blue
Shield licensees, to divide the geographic market for health insurance. As such,
they are a per se violation of Section 1 of the Sherman Act.

76. Through the License Agreements, which the independent Blue Cross
and Blue Shield licensees created, control, and enforce, each independent Blue
Cross and Blue Shield licensee agrees that neither it nor its subsidiaries will
compete under the licensed Blue Cross and Blue Shield trademarks and trade
names outside of a designated “Service Area.” The License Agreement defines
each licensee’s Service Area as “the geographical area(s) served by the Plan on
June 10, 1972, and/or as to which the Plan has been granted a subsequent license.”

77. Through the Guidelines and Membership Standards, which the
independent Blue Cross and Blue Shield licensees created, control, and enforce,
and with which each licensee must agree to comply as part of the License
Agreements, each independent Blue Cross and Blue Shield licensee agrees that at
least 80 percent of the annual revenue that it or its subsidiaries generate from

within its designated Service Area (excluding Medicare and Medicaid) shall be
29
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 49 of 78

derived from services offered under the licensed Blue Cross and Blue Shield
trademarks and trade names. This provision directly limits the ability of each Blue
plan to generate revenue from non-Blue branded business. This provision also
thereby limits the ability of each plan to develop non-Blue brands that could and
would compete with Blue plans. It further discourages and disincentivizes each
plan from developing any non-Blue branded businesses.

78. Through the Guidelines and Membership Standards, each independent
Blue Cross and Blue Shield licensee further agrees that at least two-thirds of the
annual revenue generated by it or its subsidiaries from either tnside or outside of
its designated Service Area (excluding Medicare and Medicaid) shall be
attributable to services offered under the Blue Cross and Blue Shield trademarks
and trade names. The Guidelines provide that national enrollment can be
substituted for annual revenue, making the alternative restriction that a plan will
derive no less than 66-2/3 percent of its national enrollment from its Blue-brand
business. This provision directly limits the ability of each Blue plan to generate
revenue from non-Blue branded business, and thereby limits the ability of each
plan to develop non-Blue brands that could and would compete with Blue plans. It
further discourages and disincentivizes each plan from developing any non-Blue

branded businesses.

30
he a a

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 50 of 78

79. The one-third cap on non-Blue revenue provides a licensee with
minimal, if any, incentive to compete outside its Service Area. To do so, the
licensee would have to buy, rent, or build a provider network under a non-Blue
brand, while ensuring that revenue derived from that brand did not exceed the one-
third cap. Should the licensee offer services and products under the non-Blue
brand within its Service Area (which is likely, since that is its base of operations),
that would further reduce the amount of non-Blue revenue it is permitted to earn
from outside its designated area. Thus, the potential upside of making an
investment in developing business outside of a designated area is severely limited,
which obviously creates a disincentive from ever making that investment.

80. In sum, each independent Blue Cross and Blue Shield licensee has
agreed with its potential competitors that in exchange for having the exclusive
right to use the Blue brand within a designated geographic area, it will derive none
of its revenue from services offered under the Blue brand outside of that area, and
will derive at most one-third of its revenue from outside of its exclusive area, using
services offered under a non-Blue brand. The latter amount will be further reduced
if the licensee derives any of its revenue within its designated geographic area from
services offered under a non-Blue brand.

81. The foregoing restrictions on the ability of Blue plans to generate

revenue outside of their service areas constitute agreements between competitors to
31
a eae dan

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 51 of 78

divide and allocate geographic markets, and therefore are per se violations of
Section | of the Sherman Act.

82. More than one Blue Cross and Blue Shield licensee has publicly
admitted the existence of these territorial market divisions. For example, the
former Blue Cross licensee in Ohio alleged that BCBSA member plans agreed to
include these restrictions in the Guidelines in 1996 in an effort to block the sale of
one member plan to a non-member that might present increased competition to
another member plan.

83. The largest Blue licensee, WellPoint, is a publicly-traded company,
and therefore is required by the SEC rules to describe the restrictions on its ability
to do business. Thus, in its Form 10-K filed February 17, 2011, WellPoint stated
that it had “no right to market products and services using the BCBS names and
marks outside of the states in which we are licensed to sell BCBS products,” and
that “[t]he license agreements with the BCBSA contain certain requirements and
restrictions regarding our operations and our use of the BCBS names and marks,
including ... a requirement that at least 80% .. . of a licensee’s annual combined
net revenue attributable to health benefit plans within its service area must be sold,
marketed, administered or underwritten under the BCBS names and marks” and “a

requirement that at least 66 2/3% of a licensee’s annual combined national revenue

32
see ats aa em

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 52 of 78

attributable to health benefit plans must be sold, marketed, administered or
underwritten under the BCBS names and marks.”

84. Likewise, in its Form 10-K filed March 9, 2011, Triple-S Salud, the
Blue licensee for Puerto Rico, explained that “[p]ursuant to our license agreements
with BCBSA, at least 80% of the revenue that we earn from health care plans and
related services in [its Service Area] and at least 66.7% of the revenue that we earn
from (or at least 66.7% of the enrollment for) health care plans and related services
both in [and outside its Service Area], must be sold, marketed, administered, or
underwritten through use of the Blue Cross Blue Shield name and mark.” Further,
the Triple-S licensee stated that the territorial restrictions “may limit the extent to
which we will be able to expand our health care operations, whether through
acquisitions of existing managed care providers or otherwise, in areas where a
holder of an exclusive right to the Blue Cross Blue Shield name and mark is
already present.”

85. Despite these public admissions, both BCBSA and its member plans
have attempted to keep the territorial restrictions as secret as possible. When asked
by the Insurance Commissioner of Pennsylvania to “[p]lease describe any formal
or informal limitations that BSBSA [sic] places on competition among holders of
the [Blue] mark as to their use of subsidiaries that do not use the mark,” BCBSA’s

general counsel responded that “BCBSA licensed companies may compete
33
seats settle

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 53 of 78

anywhere with non-Blue branded business .. . . The rules on what the plans do in
this regard are contained in the license. However, the license terms themselves are
proprietary to BCBSA, and... we would prefer not to share such trade secrets
with BCBSA’s competitors.”

86. The member plans of BCBSA have agreed to impose harsh penalties
on those that violate the territorial restrictions. According to the Guidelines, a
licensee that violates one of the territorial restrictions could face “[IJicense and
membership termination.” If a member plan’s license and membership are
terminated, it loses the use of the Blue brands, which BCBSA admits on its website
are “the most recognized in the health care industry.” In addition, in the event of
termination, a plan must pay a fee to BCBSA. According to WellPoint’s February
17, 2011 Form 10-K filing, that “Re-establishment Fee,” which was $98.33 per
enrollee as of December 31, 2010, “would allow the BCBSA to ‘re-establish’ a
Blue Cross and/or Blue Shield presence in the vacated service area.”

87. In sum, a terminated licensee would (1) lose the brand through which
it derived the majority of its revenue; and (2) fund the establishment of a
competing health insurer that would replace it as the Blue licensee in its local area.
These penalties essentially threaten to put out of existence any Blue member plan

that breaches the territorial restrictions.

34
ae i We le stoean

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 54 of 78

88. It is unsurprising, then, that most member plans do not operate outside
of their Service Areas. Thus, while there are numerous Blue plans and non-Blue
businesses owned by such plans that could and would compete effectively in
Alabama but for the territorial restrictions, at present there are no Blue plans other
than BCBS-AL, and no non-Blue affiliates of any Blue plans, competing in the
commercial health insurance market in Alabama. The territorial restrictions have
therefore barred all competition by all of the Blue plans (other than BCBS-AL) and
all of their non-Blue branded business lines from the Alabama commercial health
insurance market.

89. Even in the relatively rare instance, in other states, in which Blue
plans conduct operations outside of their Service Areas, they have been required to
keep those operations tightly under control by preventing growth — exactly the
opposite of how they would normally operate. The relationship between WellPoint
and its non-Blue subsidiary, UniCare, is an illustrative example. WellPoint
reported in its Form 10-K for the year ending December 31, 1999 that
approximately 70 percent of its total medical membership was sold by its Blue-
licensed subsidiary, Blue Cross of California. In its Form 10-K for the year ending
December 31, 2000, this percentage decreased to approximately 67 percent. In its
Form 10-K for the year ending December 31, 2001, after WellPoint had acquired

the BCBSA member plans operating in Georgia and part of Missouri, it reported
35
4h mise

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 55 of 78

that approximately 78 percent of its total medical membership was in its Blue-
licensed subsidiaries. By the time WellPoint filed its 10-K for the year ending
December 31, 2005, it had acquired the Blue licensees in fourteen states. For the
first time, it admitted the existence of the territorial restrictions in the BCBSA
licenses and stated that it was in compliance with them. This may explain why,
from 1999 to 2002, while other Texas health insurers experienced average revenue
growth of 17 percent, UniCare experienced growth of only 1.4 percent in Texas.
During those same years, UniCare experienced virtually no growth in the state of
Washington, while overall health insurance revenue in the state grew by 17
percent. Similarly, in New Jersey from 2000 to 2002, the number of out-of-
Service-Area enrollees of WellChoice (now part of WellPoint and known as
Empire BlueCross BlueShield) did not increase, despite an overall 25 percent
growth rate for health insurers in the state during the same period. In Mississippi,
between 2001] and 2002, premium revenue earned by most health insurance
companies increased by more than 10 percent, but revenue for the non-Blue
business of out-of-state Blue plans was either flat (in the case of UniCare) or
negative (in the case of Anthem, now part of WellPoint).

90. In another example, one Pennsylvania Blue plan, Independence Blue
Cross, has 2.4 million Blue-brand commercial health insurance enrollees in its

service area of Southeastern Pennsylvania, and has close to | million non-Blue
36
ea a ht bem

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 56 of 78

brand Medicare and Medicaid enrollees (to which the territorial restrictions do not
apply) in Indiana, Kentucky, Pennsylvania, and South Carolina, but its non-Blue
brand commercial health insurance subsidiary, AmeriHealth, which operates in
New Jersey and Delaware, has an enrollment of only approximately 130,000, or 4
percent of Independence Blue Cross’s total commercial health insurance
enrollment.

91. Thus, the territorial restrictions agreed to by all BCBSA members
operate to restrain competition by preventing member plans from competing with
each other and with non-Blue plans. These prohibitions on competition apply no
matter how favorable the efficiencies and economies of scale that might result
from expansion of a Blue into a new area, and no matter how much premiums and
other costs might be reduced if competition were permitted.

The Anticompetitive Acquisition Restrictions In The BCBSA Licensing
Agreements

92. In addition to the per se illegal territorial restrictions summarized
above, the rules and regulations of BCBSA, which BCBS-AL and the other
independent Blue Cross and Blue Shield licensees created, control, and agree to
obey, also include provisions that restrict the ability of non-members of BCBSA to

acquire or obtain control over any member plan.

37
cs adh bates

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 57 of 78

93. First, the Guidelines state that “[nJeither a [Member] Plan nor any
Larger Controlled Affiliate shall cause or permit an entity other than a [Member]
Plan or a Licensed Controlled Affiliate thereof to obtain contro! of the [Member]
Plan or Larger Controlled Affiliate or to acquire a substantial portion of its assets
related to licensable services.” Should a non-member wish to obtain such control
or assets, it “is invited to apply to become a licensee.” However, as alleged above,
the member plans control the entry of new members into BCBSA. Should a non-
member attempt to join BCBSA in order to obtain control of, or to acquire a
substantial portion of, the assets of a member plan, the other member plans could
block its membership by majority vote.

94. Second, the License Agreements contain a number of acquisition
restrictions applicable to for-profit Blue Cross and Blue Shield licensees (i.¢., to
those licensees who would otherwise be capable of having their shares acquired).
These include four situations in which a member plan’s license will terminate
automatically: (1) if any institutional investor become beneficially entitled to 10
percent or more of the voting power of the member plan; (2) if any non-
institutional investor become beneficially entitled to 5 percent or more of the
voting power of the member plan; (3) if any person become beneficially entitled to
20 percent of more of the member plan’s then-outstanding common stock or equity

securities; or (4) if the member plan conveys, assigns, transfers, or sells
38
saad a

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 58 of 78

substantially all of its assets to any person, or consolidates or merges with or into
any person, other than a merger in which the member plan is the surviving entity
and in which, immediately after the merger, no institutional investor is beneficially
entitled to 10 percent or more of the voting power, no non-institutional investor is
beneficially entitled to 5 percent or more of the voting power, and no person is
beneficially entitled to 20 percent of more of the then-outstanding common stock
or equity securities. These restrictions apply unless modified or waived in
particular circumstances upon the affirmative vote both of a majority of the
disinterested member plans and also of a majority weighted vote of the
disinterested member plans. These restraints effectively preclude the sale of a
BCBSA member to a non-member entity, absent special approval.

95, These acquisition restraints reduce competition in violation of the
Sherman Act because they substantially reduce the ability of non-member
insurance companies to expand their business. In order to expand into a new
geographic area, a non-member insurance company faces the choice of whether to
build its own network in that area, or to acquire a network by buying some or all of
an existing plan doing business in that area. Through the acquisition restrictions,
the Blue plans have conspired to force competitors to build their own networks,
and have effectively prohibited those competitors from ever choosing what may

often be the more efficient solution of acquiring new networks by purchasing some
39
ee wt a

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 59 of 78

or all of an existing Blue plan. Blue provider networks may often be the most cost-
effective due to historical tax breaks, favorable legislation, and long-term presence
ina region. By preventing non-Blue entities from acquiring Blue entities and their
networks, the acquisition restrictions in the BCBSA licenses effectively force
competitors to adopt less efficient methods of expanding their networks, thereby
reducing and in some instances eliminating competition.

96. Since the 1996 adoption of the acquisition restrictions, the only
acquisitions of Blue Cross or Blue Shield licensees have been acquisitions by other
member plans. During the period from 1996 to the present, there has been a wave
of consolidation among the Blue plans: in 1996, there were 62 Blue licensees; at
present, there are only 38.

97. By agreeing to restrict the pool of potential purchasers of a Blue
licensee to other Blue licensees, the member plans of BCBSA raise the costs their
rivals must incur to expand their networks and areas of practice, reduce efficiency,
and protect themselves and each other from competition. The net effect is less
competition and higher premium costs for consumers, including enrollees of

BCBS-AL.

40
c+ wal adanonen

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 60 of 78

The BCBSA Licensing Agreements
Have Reduced Competition In Alabama

98. BCBS-AL, as a licensee, member, and part of the governing body of
BCBSA, has conspired with the other member plans of BCBSA to create, approve,
abide by, and enforce the rules and regulations of BCBSA, including the per se
illegal territorial restrictions in the License Agreements and Guidelines. Many of
the member plans with which BCBS-AL has conspired would otherwise be
significant competitors of BCBS-AL in Alabama.

99. For example, WellPoint is the largest health insurer in the country by
total medical enrollment, with approximately 34 million enrollees. It is the Blue
Cross and Blue Shield licensee for Georgia, Kentucky, and portions of Virginia, as
well as for California (Blue Cross only), Colorado, Connecticut, Indiana, Maine,
Missouri (excluding 30 counties in the Kansas City area), Nevada, New
Hampshire, New York (as Blue Cross Blue Shield in 10 New York City
metropolitan and surrounding counties, and as Blue Cross or Blue Cross Blue
Shield in selected upstate counties only), Ohio, and Wisconsin, and also serves
customers throughout the country through its non-Blue brand subsidiary, UniCare.
But for the illegal territorial restrictions summarized above, WellPoint would be

likely to offer its health insurance services and products in Alabama in competition

4]
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 61 of 78

with BCBS-AL. Such competition would result in lower health care costs and
premiums paid by BCBS-AL enrollees.

100. Blue Cross and Blue Shield of Florida is the eighteenth largest health
insurer in the country by total medical enrollment, with approximately 2.9 million
enrollees. Its Service Area is the state of Florida. But for the illegal territorial
restrictions summarized above, Blue Cross and Blue Shield of Florida would be
likely to offer its health insurance services and products in Alabama in competition
with BCBS-AL. Such competition would result in lower health care costs and
premiums paid by BCBS-AL enrollees.

101. Blue Cross and Blue Shield of Tennessee is the twenty-second largest
health insurer in the country by total medical enrollment, with approximately 2.5
million enrollees. Its Service Area is the state of Tennessee. But for the illegal
territorial restrictions summarized above, Blue Cross and Blue Shield of Tennessee
would be likely to offer its health insurance services and products in Alabama in
competition with BCBS-AL. Such competition would result in lower health care
costs and premiums paid by BCBS-AL enrollees.

102. Blue Cross and Blue Shield of Louisiana is the thirty-fifth largest
health insurer in the country by total medical enrollment, with approximately 1.1
million enrollees. Its Service Area is the state of Louisiana. But for the illegal

territorial restrictions summarized above, Blue Cross and Blue Shield of Louisiana
42
1
SH a less

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 62 of 78

would be likely to offer its health insurance services and products in Alabama in
competition with BCBS-AL. Such competition would result in lower health care
costs and premiums paid by BCBS-AL enrollees.

103. In addition to the foregoing examples, there are dozens of other Blue
plans that would and could compete in Alabama but for the illegal territorial
restrictions. As alleged above, fifteen of the twenty-five largest health insurance
companies in the country are Blue plans: if all of these plans, together with all
other BCBSA members, were able to compete in Alabama, the result would be
lower costs and thus lower premiums paid by BCBS-AL enrollees.

BCBS-AL Market Power In Relevant Alabama Markets

104. BCBS-AL has market power in the sale of full-service commercial
health insurance to individuals and small groups in relevant geographic markets
throughout the state of Alabama.

Relevant Product Market:

105. The relevant product market is the sale of full-service commercial
health insurance products to individuals and small groups.

106. To properly define a health insurance product market, it is useful to
consider the range of health insurance products for sale and the degree to which
these products substitute for one another, 1.e., whether, in a competitive market, an

increase in the price of one product would increase demand for the second product.
43
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 63 of 78

The characteristics of different products are important factors in determining their
substitutability. For a health insurance product, important characteristics include:

107. Commercial versus government health insurance: Unlike commercial

health insurance products, government health insurance programs such as
Medicare and Medicaid and privately operated government health insurance
programs such as Medicare Advantage are available only to individuals who are
disabled, elderly, or indigent. Therefore, commercial health insurance and
government health insurance programs are not substitutes.

108. Full-service versus single-service health insurance: Full-service

health insurance provides coverage for a wide range of medical and surgical
services provided by hospitals, physicians, and other health care providers. In
contrast, single-service health insurance provides narrow coverage restricted to a
specific type of health care, e.g., dental care. Single-service health insurance is
sold as a compliment to full-service health insurance when the latter excludes from
coverage a specific type of health care, e.g., dental care. Thus, full-service health
insurance and single-service health insurance are not substitutes.

109. Full-service commercial health insurance includes HMO products and
PPO products, among others. Traditionally, HMO health insurance plans pay
benefits only when enrollees use in-network providers; PPO health insurance plans

pay a higher percentage of costs when enrollees use in-network providers and a
44
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 64 of 78

lower percentage of costs when enrollees use out-of-network providers. Both
types of full-service commercial health insurers compete for consumers based on
the price of the premiums they charge, the quality and breadth of their health care
provider networks, the benefits they do or do not provide (including enrollees’ out-
of-pocket costs such as deductibles, co-payment, and coinsurance), customer
service, and reputation, among other factors. Economic research suggests that
HMO and PPO health insurance products are substitutes.

110. Fully-insured health insurance versus ASO products: When a

consumer purchases a fully-insured health insurance product, the entity from which
the consumer purchases that product provides a number of services: it pays its
enrollees’ medical costs, bears the risk that its enrollees’ health care claims will
exceed its anticipated losses, controls benefit structure and coverage decisions, and
provides “administrative services” to its enrollees, e.g., processes medical bills and
negotiates discounted prices with providers. In contrast, when a consumer
purchases an administrative services only (“ASO”) product, sometimes known as
“no risk,” the entity from which the consumer purchases that product provides
administrative services only. Therefore, fully-insured health insurance products
and ASO products are only substitutes for those consumers able to self-insure, i.e.,
able to pay their own medical costs and bear the risk that claims will exceed their

anticipated losses.
45
oll

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 65 of 78

111. Individual, small group, and large group consumers: Consumers of

health insurance products include both individuals and groups, such as employers
who select a plan to offer to their employees and typically pay a portion of their
employees’ premiums. Group consumers are broken down into two categories,
small group and large group, based on the number of persons in the group. The
Kaiser Family Foundation, which publishes an influential yearly survey of
employer health benefits offered across the United States, defines smal! firms as
those with 3-199 employees and large firms as those with 200 or more employees.
112. For the purposes of market division, it is appropriate to consider the
individual and smail group health insurance product market as distinct from the
large group health insurance product market. In the former, consumers are largely
unable to self-insure and competition is therefore restricted to plans that offer
fully-insured health insurance products; in the latter, consumers are able to self-
insure and the bulk of competition occurs between firms offering ASO products.
Across the United States, 84 percent of small group consumers do not self-insure,
while 83 percent of large group consumers do self-insure. Even apart from the
prevalence of ASO preducts in each market, individual, small group, and large
group product markets are distinct because health insurers can set different prices
for these different consumers. Thus, pricing in the large group market would not

impact competition in the small group market, and vice versa.
46
oon td le

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 66 of 78

113. Data on enrollment in full-service commercial health insurance:

There is a dearth of reliable data on the market share of insurers selling full-service
commercial health insurance products to individual and small group consumers in
Alabama. The only publicly available data Plaintiffs have found on the Alabama
market share of fully-insured, full-service commercial health insurers is from an
American Medical Association study. This data, which is restricted to enrollment
in HMO and PPO products only, does not distinguish between individual, small
group, and large group consumers; however, because the vast majority of ASO
consumers are large groups rather than individuals or small groups, and because
the vast majority of large group consumers purchase ASO products rather than
fully-insured health insurance products, this data is a fair approximation of
Alabama individual and small group enrollment in full-service commercial health
insurance products.

114. Further, using this data to determine BCBS-AL’s share of the relevant
product market would only overstate BCBS-AL’s market share if BCBS-AL had a
disproportionately large share of the large group market. This is unlikely. The
other major sellers of full-service commercial health insurance in Alabama are
large national insurers, which target consumers that are large national employers

and would be large group consumers in Alabama.

47
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 67 of 78

115. Thus, unless otherwise noted, Plaintiffs rely on the aforementioned
enrollment data to calculate BCBS-AL’s share of the relevant product market.

Relevant Geographic Markets:

116. In defining a geographic market, it is important to focus on an
essential part of a full-service commercial health insurer’s product: its provider
network. An insurer’s provider network is composed of the health care providers
with which it contracts. Enrollees in both HMO and PPO full-service commercial
health insurance products pay less for an “in-network” provider’s health care
services than they would for the same services from an “out of network” provider.
As a result, health insurance consumers pay special attention to an insurer’s
provider network when choosing a health insurance product, preferring insurers
with networks that include local providers. This suggests that health insurers
compete in distinct geographic markets.

117. There are a number of different ways to analyze the geographic
markets for the sale of full-service commercial health insurance to individual and
small group consumers in Alabama. The potentially relevant geographic markets
could be defined alternatively as (a) the state of Alabama, BCBS-AL’s service
area; and (b) the 49 regions, known as “Metropolitan Statistical Areas,”
“Micropolitan Statistical Areas,” and counties, into which the U.S. Office of

Management and Budget divides Alabama. However the geographic market is
48
fae teal das aa

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 68 of 78

defined, the result is the same: BCBS-AL has the dominant market position, and
exercises market power.

118. BCBS-AL does business throughout the state of Alabama, is licensed
to use the Blue Cross and Blue Shield trademarks and trade names throughout the
state of Alabama, and has agreed with the other member plans of BCBSA that only
BCBS-AL will do business in Alabama under the Blue brand. Therefore, the state
of Alabama can be analyzed as a relevant geographic market within which to
assess the effects of BCBS-AL’s anticompetitive conduct. In 2008, BCBS-AL
held at least 93 percent of the market share ef the relevant Alabama product
market.

119. The U.S. Office of Management and Budget divides the 67 counties
of Alabama into Metropolitan Statistical Areas and Micropolitan Statistical Areas
according to published standards applied to U.S. Census Bureau data. It states that
“t]he general concept of a metropolitan or micropolitan statistical area is that of a
core area containing a substantial population nucleus, together with adjacent
communities having a high degree of economic and social integration with that

core.” Therefore, each of Alabama’s 12 Metropolitan Statistical Areas,’ 13

' The Anniston-Oxford Metropolitan Statistical Area, the Auburn-Opelika Metropolitan Statistical Area, the
Birmingham-Hoover Metropolitan Statistical Area, the Alabama portions of the Columbus Metropolitan Statistical
Area, the Decatur Metropolitan Statistical Area, the Dothan Metropolitan Statistical Area, the Florence-Muscle
Shoals Metropolitan Statistical Area, the Gadsden Metropolitan Statistical Area, the Huntsville Metropolitan

49
veut ass

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 69 of 78

Micropolitan Statistical Areas,” and 24 counties® that are not part of Statistical
Areas is a relevant geographic market within which to assess the effects of BCBS-
AL’s anticompetitive conduct. Currently, there is no publicly available data that
would enable Plaintiffs to calculate BCBS-AL’s share of the relevant product
market in each of these relevant geographic markets. However, BCBS-AL is able
to provide this information.

120. BCBS-AL’s powerful market share is far from the only evidence of its
market power. As alleged below, BCBS-AL’s market power has significantly

raised costs, resulting in skyrocketing premiums for BCBS-AL enrollees,

Statistical Area, the Mobile Metropolitan Statistical Area, the Montgomery Metropolitan Statistical Area, and the
Tuscaloosa Metropolitan Statistical Area.

> The Albertville Micropolitan Statistical Area, the Alexander City Micropolitan Statistical Area, the Cullman
Micropolitan Statistical Area, the Daphne-Fairhope-Foley Micropolitan Statistical Area, the Enterprise-Ozark
Micropolitan Statistical Area, the Eufaula Micropolitan Statistical Area, the Fort Payne Micropolitan Statistical
Area, the Scottsboro Micropolitan Statistical Area, the Selma Micropolitan Statistical Area, the Talladega-Sylacauga
Micropolitan Statistical Area, the Troy Micropolitan Statistical Area, the Tuskegee Micropolitan Statistical Area,
and the Valley Micropolitan Statistical Area.

? Bullock County, Butler County, Cherokee County, Choctaw County, Clarke County, Clay County,
Cleburne County, Conecuh County, Covington County, Crenshaw County, Escambia County, Fayette
County, Franklin County, Lamar County, Marengo County, Marion County, Monroe County, Perry
County, Pickens County, Randolph County, Sumter County, Washington County, Wilcox County, and
Winston County.

50
oun it las

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 70 of 78

Inflated Premiums Charged By BCBS-AL

121. From March 1, 2007 to the present, BCBS-AL’s illegal
anticompetitive conduct, including its territorial market division agreements with
the thirty-seven other members of BCBSA, has increased health care costs in
Alabama, leading to artificially inflated and supra-competitive premiums for
individuals and small groups purchasing BCBS-AL’s full-service commercial
health insurance in the relevant geographic markets. BCBS-AL’s market power
and its use of anticompetitive practices in Alabama have reduced the amount of
competition in the market and ensured that BCBS-AL’s few competitors face
higher costs than BCBS-AL does. Without competition, and with the ability to
increase premiums without losing customers, BCBS-AL faces little pressure to
keep costs low.

122. Over the past decade, BCBS-AL generally raised individual and small
group premiums by amounts greater than the national average. In 2010, for
example, BCBS-AL raised individual premiums more than 17 percent in some
instances.

123. These rising premiums have enabled BCBS-AL to lavishly
compensate its executives and grow its surplus in excessive amounts, unusual
practices for a self-described non-profit organization. From 2001 to 2009, BCBS-

AL grew its surplus by 68 percent, from $433.7 million to $649 million. In 2011,
5]
na dae

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 71 of 78

BCBS-AL’s reported net income of $256.92 million represented a 58 percent

increase from 2010.

VIOLATIONS ALLEGED

Count One
(Contract, Combination, or Conspiracy in Restraint of Trade
in Violation of Sherman Act, Section 1)

124. Plaintiffs repeat and reallege the allegations in Paragraphs | through
123.

125. The License Agreements, Membership Standards, and Guidelines
agreed to by BCBS-AL and BCBSA represent horizontal agreements entered into
between BCBS-AL and the thirty-seven other member plans of BCBSA, all of
whom are competitors or potential competitors in the market for commercial health
insurance.

126. Each of the License Agreements, Membership Standards, and
Guidelines entered into between BCBSA and BCBS-AL represents a contract,
combination and conspiracy within the meaning of Section 1 of the Sherman Act.

127. Through the License Agreements, Membership Standards, and
Guidelines, BCBSA and BCBS-AL have agreed to divide and allocate the
geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the thirty-eight BCBSA members. By so doing, the

BCBSA members (including BCBS-AL) have conspired to restrain trade in
52
or tnalt

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 72 of 78

violation of Section 1 of the Sherman Act. These market allocation agreements are
per se illegal under Section | of the Sherman Act.
128. The market allocation agreements entered into between BCBS-AL

and the thirty-seven other BCBSA member plans (executed through the BCBSA

License Agreements and related Membership Standards and Guidelines) are

anticompetitive.

129. BCBS-AL has market power in the sale of full-service commercial
health insurance to individuals and small groups in each relevant geographic and
product market alleged herein.

130. Each of the challenged agreements has had substantial and
unreasonable anticompetitive effects in the relevant markets, including but not
limited to:

a. Reducing the number of health insurance companies competing
with BCBS-AL throughout Alabama;

b. Unreasonably limiting the entry of competitor health insurance
companies into Alabama;

c. Allowing BCBS-AL to maintain and enlarge its market power

throughout Alabama;

53
sat Aa mae

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 73 of 78

d. Allowing BCBS-AL to raise the premiums charged to consumers
by artificially inflated, unreasonable, and supra-competitive
amounts;

e. Depriving consumers of health insurance of the benefits of free and
open competition.

131. The procompetitive benefits, if any, of the market allocation
agreements alleged above do not outweigh the anticompetitive effects of those
agreements.

132. The market allocation agreements in the License Agreements,
Membership Standards, and Guidelines unreasonably restrain trade in violation of
Section 1 of the Sherman Act.

133. Asa direct and proximate result of BCBS-AL’s continuing violations
of Section | of the Sherman Act, Plaintiffs and other members of the Alabama
Class have suffered injury and damages in an amount to be proven at trial. These
damages consist of having paid higher health insurance premiums to BCBS-AL
than they would have paid with increased competition and but for the Sherman Act
violations.

134. Plaintiffs and the Alabama Class seck money damages from BCBS-

AL and BCBSA for their violations of Section | of the Sherman Act.

54
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 74 of 78

Count Two
(Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
for Private Health Insurance in Violation of Sherman Act, Section 2)

135. Plaintiffs repeat and reallege the allegations in Paragraphs | through
134.

136. BCBS-AL has monopoly power in the individual and small group
full-service commercial health insurance market in Alabama. This monopoly
power is evidenced by, among other things, BCBS-AL’s high market share of the
commercial health insurance market, including its increasing market share even as
it has raised premiums.

137. BCBS-AL has abused and continues to abuse its monopoly power in
order to maintain and enhance its market dominance by unreasonably restraining
trade, thus artificially inflating the premiums it charges to consumers.

138. BCBS-AL’s conduct constitutes unlawful monopolization and
unlawful anti-competitive conduct in the relevant markets in violation of Section 2
of the Sherman Act, and such violation and the effects thereof are continuing and
will continue unless injunctive relief is granted.

139. Asa direct and proximate result of BCBS-AL’s continuing violations

of Section 2 of the Sherman Act, Plaintiffs and other members of the Alabama

Class have suffered injury and damages in an amount to be proven at trial. These

55
Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 75 of 78

damages consist of having paid higher health insurance premiums to BCBS-AL
than they would have paid but for the Sherman Act violations.
140. Plaintiffs and the Alabama Class seek money damages from BCBS-
AL for its violations of Section 2 of the Sherman Act.
Count Three

(Willful Attempted Monopolization in the Relevant Market
for Private Health Insurance in Violation of Sherman Act, Section 2)

i41. Plaintiffs repeat and reallege the allegations in Paragraphs 1 through
140.

142. BCBS-AL has acted with the specific intent to monopolize the
relevant markets.

143. There was and is a dangerous possibility that BCBS-AL will succeed
in its attempt to monopolize the relevant markets because BCBS-AL controls a
large percentage of those markets already, and further success by BCBS-AL in
excluding competitors from those markets will confer a monopoly on BCBS-AL in
violation of Section 2 of the Sherman Act.

144. BCBS-AL’s attempted monopolization of the relevant markets has
harmed competition in those markets and has caused injury to Plaintiffs and the
Alabama Class. Premiums charged by BCBS-AL have been higher than they

would have been in a competitive market.

56
van steal dete
-_

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 76 of 78

145. Plaintiffs and the Alabama Class have been damaged as the result of

BCBS-AL’s attempted monopolization of the relevant markets.

RELIEF REQUESTED

WHEREFORE, Plaintiffs request that this Court:

a.

Determine that this action may be maintained as a class action under
Fed. R. Civ. P. 23;

Adjudge and decree that BCBS-AL has violated both Section 1 and
Section 2 of the Sherman Act;

Award Plaintiffs and the Alabama Class damages in the form of three
times the amount by which premiums charged by BCBS-AL have
been artificially inflated above their competitive levels during the
Class Period;

Award costs and attorneys’ fees to Plaintiffs;

Award any such other and further relief as may be just and proper.

This the 17" day of May, 2012.

Respectfully submitted,

/s/ Chris T. Hellums

Chris T. Hellums

AL State Bar No. ASB-5583-L73C
Jonathan S. Mann

AL State Bar No. ASB-1083-A36M
PITTMAN, DUTTON & HELLUMS, P.C.

57

vee eta dhe

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 77 of 78

2001 Park Place North, Suite 1100
Birmingham, Alabama 35203
Telephone: 205-322-8880

Fax: 205-328-2711

Email: PDH-etiling@pittmandutton.com

William A. Isaacson

BOIES, SCHILLER & FLEXNER LLP
5301 Wisconsin Avenue NW
Washington, DC 20015

Telephone: 202-237-2727

Fax: 202-237-6131

Email: wisaacson@bsfllp.com

Michael D. Hausfeld

HAUSFELD LLP

1700 K. Street NW, Suite 650
Washington, DC 20006

Telephone: 202-540-7200

Fax: 202-540-7201

Email: mhausteld@hausteldilp.com

Edgar D. Gankendorff

PROVOSTY & GANKENDORFF, L.L.C.
650 Poydras Street, Suite 2700

New Orleans, LA 70130

Telephone: 504-410-2795

Fax: 504-410-2796

Email: egankendortt(@provostylaw.com

Attorneys for Plaintiffs and the Proposed
Class

JURY DEMAND

Plaintiffs demand a trial by jury.

/s/ Chris T. Hellums
Of Counsel

58

Case MDL No. 2406 Document 2-7 Filed 09/07/12 Page 78 of 78

REQUEST FOR SERVICE

Pursuant to FRCP 4.1 and 4.2, Plaintiffs request service of the foregoing
Complaint by certified mail.
4s/ Chris T. Hellums
Of Counsei

PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL AS FOLLOWS:

BLUE CROSS AND BLUE SHIELD OF ALABAMA
Attn: Legal Department

450 Riverchase Parkway East

Birmingham, AL 35244-2858

BLUE CROSS AND BLUE SHIELD ASSOCIATION
Attn: Legal Department

225 North Michigan Avenue

Chicago, IL 60601

59
